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EXHIBIT J

  

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Attorneys for Res ondents and Cc_)unterclaimants
The U_plper D_eck_ _om any and Rlchard P.
Mch lam, 1nd1v1dua ly and as Trustee for the
MPR Trust

AMERICAN ARBITRATION ASSOCIATION

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AMERICAN INTERNATIONAL
SPECIALTY LINES INSURANCE

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12 COMPANY and DOES 1 through 10, RESPONDENTS THE UPPER DECK
inclusive, COMPANY’S AND RICHARD P.
13 _ _ MCWILLIAM’S INDIVIDUALLY
Clalmant, AND AS TRUSTlEE FOR THE MPR
14 TRUST ANSWER TO THE
v. ' ARBITRATION COMPLAINT OF
15 AMERICAN INTERNATIONAL
THE UP_PER DECI_{ COMPANY, a SPECIALTY LINES INSURANCE
16 Californla co oratlon, and COMPANY; DEMAND FOR THREE
. RICHARD P. CWILLIAM, ARBITRATORS
17 indivldually, and as Trustee for the MPR
Trust,
1 8
Respondents.
19
20 The Upper Deck Company, a California corporation, and Richard P.
21 McWilliam, individually and as trustee of the MPR Trust, answer the
22 “ARBITRATION COMPLAINT” (“Complaint”) attached to the November 14,
23 2005 Demand for Arbitration by American International Specialty Lines Insurance
24 Company (“AISLIC”) by first declining to Waive the requirement for three
25 arbitrators at this time and responding further as follows:
_ 26 _ Response to Specific Allegations
27 l. ln answer to the allegations of paragraph l of AISLIC’s Complaint,
28 Respondents

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l o admit AISLIC 'is now, and at all times relevant hereto was, an Alaska
2 corporation authorized to underwrite insurance in'the State of Califomia as
3 a surplus lines insurer with its principal place of business in New York,
4 New York. However, Respondents are informed and believe and based
5 thereon
6 o answer further that AISLIC is not authorized to conduct the business of
7 0 insurance in the State of New Yorkzand is not subject to the supervision of
8 insurance regulators in the State of New York..
9 2. In answer to the allegations of paragraph 2 of AISLIC’s Complaint,
10 Respondents admit Upper Deck is a Califomia corporation with its principal place
11 of business at 5909 Sea Otter Place, Carlsbad, Califomia.
12 3. In answer to the allegations of paragraph 3 of AISLIC’s Complaint,
13 Respondents deny that Richard P. McWilliam is the chief executive officer of Upper
14 Deck at this time.
v 15 4. In answer to the allegations of paragraph 4 of AISLIC’s Complaint,
16 Respond`ents admit the-MPR revocable trust (“MPR Trust”) is an inter vivos
17 revocable trust of which Richard P. McWilliam is the sole trustee.
18 5. In answer to the allegations of paragraph 5 of the Complaint,
19 Respondents z
20 o admit that AISLIC issued its policy no. 405-88-33 (“Policy”) having The
21 Upper Deck Company as a “named insured” and the MPR Trust and Mr.
22 Richard P. McWilliam as “additional insureds”; however, Respondents
23 o answer further that AISLIC previously bound itself to issue the Policy in a
24 written binder dated August 29, 2001 and that while the Policy Specifies its
25 period commenced August 29, 2001, the Policy was not actually _
26 forwarded to The Upper Deck Company until on or about February 8,
27 2002. ' '
28 o Admit one'of the attachments to the Piolicy,i Exhibit B, which is identified

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in the Policy as the “Representation Letter” and in AISLIC’s Complaint as
the “Representation and Warranty Letter,” is dated September 4, 2001.
deny that “AISLIC was entitled to rely . . . on . . . a Representation and
Warranty Letter signed by Upper Deck and McWilliams [sic]” in theiform

of the Representation Letter appended to the Policy except insofar as that

 

 

7niliepresentationil:etter warranted enlisting facts into which AISLIC had not

conducted AISLIC’s own investigation

deny that AISLIC did in fact rely on the Representation Letter.

deny that AISLIC relied on the “KPMG opinions . . . in deciding to
provide coverage” and further

answer that the “KPMG opinions” were not matters upon which AISLIC
“reli.ed in deciding to provide coverage” and

answer further that Upper Deck specifically sought to insure against the
risk the “KPMG Opinions” would prove to be incorrect and AISLIC
Speciflcally insured against accepted the risk that the “KPMG Opinions”
would prove to be incorrect. `

deny that “the transaction described in the documents presented to AISLIC
by Upper Deck was materially different from the transaction actually
carried out by Upper Deck” and

answer further that the transactions, which are the subject of the Policy,
were not different in any respect from transactions described in any
documents presented to AISLIC by Upper Deck or anybody else.
answering AISLIC’s allegation “the transaction that was actually carried
out was an obvious tax sham for which AISLIC would never have
provided coverage,” Respondents answer that whatever was “obvious” to
AISLIC, the transactions Respondents carried out were not obviously tax
shams to Respondents and further

answer that AISLIC underwrotethe Policy with full knowledge of the

 

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1 transactions in which Respondents engaged and with the complete
- 2 expectation AISLIC assumed the risks attendant thereto.
3 '6. In answer to the allegations of paragraph 6 of AISLIC’s Complaint,
4 Respondents
5 o admit that Upper Deck has made demand that AISLIC contribute its full
6 policy limits of $50,000,000 toward payment of taxes assessed or to be
7 assessed by the Intemal Revenue Service consistent with three written
8 proposals to each of Respondents from the IRS each dated April 7, 2005.
9 o answer that each of Respondents executed their respective written
10 proposals dated April 7, 2005 from the IRS with the full knowledge and
11 consent of AISLIC l
12 0 answer that the terms of those three April 7, 2005 written proposals speak
13 for themselves _
14 0 deny the allegations of paragraph 6 of the Complaint, except as
15 specifically admitted herein. _
16 ' 7. In answer tov the allegations of paragraph 7 of AISLIC’s Complaint,
17 Respondents
18 0 admit the Policy and its exhibits are appended to the Complaint as
19 Exhibit 1 and further
20 o answer that the written terms and conditions of the Policy attached as
21 Exhibit 1 to the Complaint speak for themselves
22 o deny the allegations of paragraph 7 except as specifically admitted herein.
23 8_. In answer to the allegations of paragraph 8 of AISLIC’s Complaint,
24 Respondents
25 o deny that Exhibit B to the Policy (a letter addressed to American
26 l International Specialty Lines Insurance Company and dated September 4,
27 2001) which is referred to in the Policy as the “Representation Letter” and
28 which is referred to in the Complaint as “the Representation and Warranty

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1 Letter” was submitted in any “negotiations . . . during the late spring of
2 2001 through August 2001 .”
3 o answer that AISLIC contractually bound itself to issue the Policy in a
4 written binder dated August 29, 2001.
5 0 admit Upper Deck was involved in negotiations with AISLIC to obtain the
6 Policy prior to AISLIC’s binding coverage and issuing the Policy,
7 o deny the allegations of paragraph 8 of the Complaint Except as specifically
8 admitted herein.. l
9 9. In answer to the allegations of paragraph 9 of AISLIC’s Complaint,
10 Respondents admit the “KPMG opinions” are attached to the Policy appended to the
11 Complaint as Exhibit 1 in Exhibit A thereto and further answer that the “KPMG
12 opinions” speak for themselves Except as specifically admitted herein,
13 Respondents deny the allegations of paragraph 9 of the Complaint.
14 10. In answer to the allegations of paragraph 10 of AISLIC’s Complaint,
15 Respondents
16 o admit that Richard P. McWilliam, as trustee of the MPR Trust, received a
17 written warrant (the “Warrant”) from The Upper Deck Company on March
18 29, 2001 and further
19 o answer that the terms of the written Warrant speak for themselves
20 o answer that the “KPMG opinions” appended in Exhibit A to the Policy
21 which is appended to Exhibit l to the Complaint speak for themselves
22 o deny the allegations of paragraph 10 of the Complaint, except as
23 specifically admitted herein.
24 11. v In answer to the allegations of paragraph 11 of AISLIC’s Complaint,
25 Respondents
26 v o admit that as of the 3 1 st day of March 2001 each of The Upper Deck
27 Company, the MPR Trust and the Austin Firefighters Relief and
28 Retirement Fund entered into an agreement denominated “Shareholders

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1 Agreement,” a copy of which is attached as Exhibit C to the Policy which
2 is appended to the Complaint as Exhibit 1.
3 o object to and deny the Complaint’s characterization of the “Shareholders
4 Agreement” as a “redemption agreement.”
5 o answer that the “Shareholders Agreement” speaks for itself.
6 7 o 7and denythiat/the characterizationsof paragraph 11 of the Complaint
7 adequately describe the nature of the “Shareholders Agreement.”
8 12. ln answer to the allegations of paragraph 12 of AISLIC’s Complaint,
9 Respondents
10 o admit that on September 4, 2001 Richard P. McWilliam, as trustee of the
11 MPR Trust (and not individually) and The Upper Deck Company executed
12 Exhibit B to the Policy appended to the Complaint as Exhibit 1, which the
13 Policy denominates as the “Representation Letter” and which the
14 Complaint characterizes as the “iRepresentation and Warranty Letter.”
15 o admit that the “Representation Letter” States, in part, that “the
16l undersigned” (The Upper Deck Company and Richard P. McWilliam, as
17 trustee of the MPR Trust (and not individually)) “represent[ed] and
18 warrant[ed]”” as follows: “. . . the facts, assumptions of fact, and
19 understandings of facts set forth in the opinions of KPMG LLP attached as
20 Exhibit A to the [P]olicy were true and correct on the date of such
21 opinions [May 2, 2001] and continue to be true and correct on the date
22 hereof,” September 4, 2001.
23 0 deny the allegations of paragraph 12 of the Complaint except as
24 specifically admitted herein.
25 13. In answer to the allegations of paragraph 13 of AISLIC’s Complaint,
26 Respondents '
27 0 deny that Richard P. McWilliam individually “warranted [anything] to
28 AISLIC” in the Representation Letter appended as Exhibit B to the Policy

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which is attached to the Complaint as Exhibit.l and which the Complaint

 

 

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2 characterizes as the “Representation and Warranty Letter,”

3 0 deny that either The Upper Deck Company or Richard P. McWilliam, as

4 trustee of the MPR Trust, “warranted to AISLIC that neither Upper Deck

5 nor McWilliam could compel Firefighters to redeem its stock, ‘except

6 pursuant to the exercise of the right of first refusal contained in the

7 Shareholders Agreement,”’l and

8 o deny the allegation that “the KPMG opinions made the same

9 representation that neither Upper Deck nor McWilliam had the power to
10 compel Firefighters to present the stock it owned for redemption.”2
11 o Regardless of how the “Representation Letter” or the “KPMG opinions”
12 may have characterized the agreement denominated Shareholders
13 Agreement entered into as of March 31, 2001, that ‘Shareholders
14 Agreement’ was disclosed in its entirety to AISLIC and is in fact attached
15 as Exhibit C to the Policy which is attached to AISLIC’s Complaint as
16 Exhibit 1.” Respondents answer that paragraph 1 of the “Shareholders
17 '

l While the Representation Letter states, in art “[t]he municipal plan is neither

18 legally bound to offer for redemption any of t e non~votin shares of Upper Deck,

nor can Upper Deck or an of it_s shareholders compel sue airedem tion except
pursuant to the exercise o_ the right of first refusal contained in_ the hareliolder
Agreementz a copy iof which is attached as Exhibit C to the po_licy ‘Shareho_lder
Agreement §”, Section 3 of th_e Shareholders Agreement, ca tione “Disposrtion of
Nonvoting hares Uipon _S ecrfied Events” sets forth other_‘ ecrfied Events” called
“Disposition Events_ whic would permit Upper Deck or its t en shareholder(s) to
acquire the non-voting shares of Upper Deck.

2 The May 2, 2001 letter appended as art_of Exhibit A to _the Policy attached to
the _Complaint_as Exhibit 1 regarding “ haritable Contribution to the Firefighters
Relief and Retirement F_und” stated in part: “As part of_ the Shareholders A reement
U}éper D_eck and Munrci al li’lan entered into a redemzption agreement Un er the _
re em tion agreement unicipal Plan may present tie non-votin common s_tock it
owns or redemptions by Upzper Deck, be innin A ril 1, 2003. _ _e redemption
amount is the fair market va ue of the stoc on t e ate that Munici al Plan presents
the stock for rede_mption. Neither Upper Deck_ nor the shareholder ave the power
to co_mpel Municipal Plan to present t e stock it owns for red_ernption.” However,
Section'3 of the S _areholders Agreement, captioned “_Dis ositron of Nonvoting
Shares Upon Specified E_vents” sets forth other “S ecifie _Events” called
“Disposition Events” which would permit Upper eck or its then shareholder(s) to
acquire the non-voting shares of Upper Deck7.7 7 7 7 7 7 7

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l 1 Agreement” captioned “Restrictions Against Transfer” specifically permits
2 and authorizes “sales, transfersor dispositions of Donee Shares3 which
3 were not “in conformity with provisions Section 2, Section 3 or Section 5
4 of th[e] Agreement, or as otherwise expressly provided in th[e]
5 Agreement” with “the prior written consent of the Company and the other
6 ` Shareholder[s] of the Company.” AISLIC therefore acted at all time With 7
7 knowledge that Upper Deck, the MPR Trust and the Austin Firefighters
8 Relief and Retirement Fund could mutually agree to a transfer of the non-
9 voting stock at any time and at any price.

10 _ 14. n In answer to the allegations of paragraph 14 of AISLIC’s Complaint,

1 1 Respondents

12 0 admit that as of March 31, 2001 The Upper Deck Company, the MPR

13 Trust and the Austin Firefighters Relief and Retirement Fund entered into

14' the “Shareholders Agreement” appended as Exhibit C to the Policy

15 attached to the iComplaint as Exhibit l and

16 oz admit the authenticity of the “KPMG opinions” attached as Exhibit A to

17 ` the Policy attached to the Complaint as Exhibit 1.

18 o answer that the “KPMG opinions” and the “Shareholders Agreement”

19 speak for themselves

20 o deny that the allegations of paragraph 14 adequately or accurately

21 characterize or summarize the terms of either the “KPMG opinions” or the

22 “Shareholders Agreement”-

23 o deny that the “Shareholders Agreement represented that the purchase price

24 to be paid by Upper Deck was to be ‘the fair market value of the stock on

25 the date that [Firefighters] presents the stock for redemption”’

26

27 :Ot§i§°fi§§12§0§’563§§§£§r§f?i%e§§£§§§§r§e§§;33§11115ii§§?n;l§‘§?§§ksfa.rf§:e§`°j “a

28 XV§§§§ fir§f§§§§r`§lf§ii§¥?§d"i’€§?r‘éi§§?lfiaha??“m “t[ed] ' ' ' “’ DO“C°`” the

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1 o answer that only Section 5 of the “Shareholders Agreement” captioned
2 “Put Option and Right,” which granted the “Donee” a “put option” (which
3 option was never exercised) and Section 3 captioned “Disposition of Non-
4 voting Shares Upon Specified Events” (which events never occurred)
5 speak to a “fair market value” or to a “put price.” l
6 o answer that Section 2 of the “Shareholders Agreement” captioned “Right
7 of First Refusal Upon Sale to Bona Fide purchaser” speaks to a right of
8 The Upper Deck Company to purchase shares from the “Donee” for a
9 price calculated without regard to “fair market value”
10 o answer that Section 1 of the “Shareholders Agreement” captioned
11 “Restrictions Against Transfer” permits “sales, transfers or dispositions of
12 Donee Shares” without any restriction whatsoever on a price of purchase
13 by The Upper Deck Company “with [] the prior written consent of the
14 Company and the other shareholders of the Company” (which written
15 consent was obtained in December 2002). v
16 15. In answer to the allegations of paragraph 15 of AISLIC’s Complaint,
17 Respondents
18 o again admit the authenticity of the “KPMG opinions” attached as
19 Exhibit A to the Policy appended to AISLIC’s Complaint as Exhibit 1 and
20 further
21 o answer that the “KPMG opinions” speak for themselves
22 0 deny the allegations of paragraph 15 of the Complaint except as
23 specifically admitted herein.
24 16. In answer to the allegations of paragraph 16 of AISLIC’s Complaint,
25 Respondents
26 ’ o again admit the authenticity of the “KPMG opinions” attached as
27 Exhibit A to the Policy appended to AISLIC’s Complaint as Exhibit l, and
28 further

 

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0 answer that the “KPMG opinions” speak for themselves

0 deny that any of the “KPMG opinions” “advise[d] that if the non-voting
stock were redeemed at a purchase price substantially above or below the
fair market value of the stock, it could lead the IRS to conclude that there

was a second class of stock and thus invalidate the tax shelter”; no such

 

statement and no similar statement appear in the “KMPG opinions”
17. i In answer to the allegations of paragraph 17 of AISLIC’s Complaint,
Respondents admit AISLIC issued the Policy to The Upper Deck Company as the
“named insured” and to the MPR Trust and Mr. Richard McWilliam as “additional

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insureds” and admit that the Policy had a policy period incepting August 29, 2001.

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Except as specifically admitted herein, Respondents deny the allegations of

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paragraph 17 and Respondents specifically deny that “AISLIC issued the [P]olicy. .

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. based on . . . documents presented to it by Respondents, including the

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Representation and Warranty Letter” (which the Policy refers to as the

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“Representation Letter”) and answer further that AISLIC underwrote the Policy

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based on its own independent investigation and not based on any representation or

warranty by any of Respondents

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18. ln answer to the allegations of paragraph 18 of AISLIC’s Complaint,
Respondents admit that on April 9, 2002 the IRS summoned KPMG to reveal the

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identity of its clients, including Respondents, using tax strategies which had been

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promoted by KPMG, including the tax strategy sometimes referred to as “SCZ.”
Respondents further admit that KPMG notified Upper Deck of this on April 9 or 10,
2003, and that Upper Deck in turn promptly notified AISLIC no later than April 10,

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2003. Except as specifically admitted herein, Respondents deny the allegations of

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paragraph 18 of AISLIC’s Complaint.

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19. ln answer to the allegations of paragraph 19 of AISLIC’s Complaint,

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Respondents admit to execution of a “Voluntary Disclosure Under Announcement

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2002-2” and further answer that the written terms of thati‘i‘Voluntary Disclosure

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attorneys at law

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Under Announcement 2002-2” speak for themselves Except as specifically
admitted herein, Respondents deny the allegations of paragraph 19 of AISLIC’s
Complaint,

20. In answer to the allegations of paragraph 20 of AISLIC’s Complaint, i

Respondents admit to the execution of a written agreement dated as of December

 

by Richard P. McWilliam as Trustee of the MPR Trust and by the Austin

Firefighters Relief and Retirement Fund, and answer further that the written terms

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and conditions of that “Share Purchase Agreement” speak for themselves except

insofar as the “Share Purchaser Agreement” alludes to or mentions other written

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documents which written documents also speak for themselves Except as

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specifically admitted herein, Respondents deny the allegations of paragraph 20 of
AISLIC’s Complaint.
21. In answer to the allegations of paragraph 21 of AISLIC’s Complaint,

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Respondents admit to the execution of a written agreement entitled “Share Purchase
agreement” by The Upper Deck Company, Richard P. McWilliam as Trustee of the
MPR Trust and the Austin Firefighters Relief and Retirement Fund dated as of

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December 10, 2002, and answer that the written terms and conditions of that “Share

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Purchase Agreement” speak for themselves except insofar as the “Share Purchaser

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Agreement” alludes to or mentions other written documents which written

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documents also speak for themselves Except as specifically admitted herein,

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l\.)

Respondents deny the allegations of paragraph 21 of AISLIC’s Complaint.

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22. In answer to the allegations of paragraph 22 of AISLIC’s Complaint,

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Respondents

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o deny that “[T]he Share Purchase Agreement effectively terminated the

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Shareholders Agreement.” ln support of this denial, Respondents

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answer that the “Shareholders Agreement” entered into as of March 31, '
2001 attached as Exhibit C to the Policy which is attached to the

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Ru\ll l Tuchv LLP
attorneys at law

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10’ 2002 and entitled “Share Purchas@ Agreement” by The Upper Deck Cornpani;,iv 73

 

  

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1 Complaint as Exhibit l specifically provides in paragraph 8 captioned
2 “Termination of Agreement,” that “this Agreemen[t] shall terminate . . . on
3 the occurrence of any of the following events . . . at such time as only one
4 , . (1) Shareholder of the Company remain[ed]” and that because of this
5 provision the “Share Purchase Agreement” provides “that Austin[]
n 6 [Firefighters Relief and Retirement Fund’s] rights and obligations under
7 the Shareholders Agreement shall terminate effective as of the closing of
' i 8 the transactions contemplated [t]hereby” -- after which “only one (1)
9 shareholder of the Company ” remain[ed].”
10 o answer that the “Share Purchase Agreement” speaks for itself except
1 1 insofar as the “Share Purchaser Agreement” alludes to or mentions other
12 written documents which written documents also speak for themselves
13 o deny that the allegations of paragraph 22 adequately characterize the terms
14 and conditions of the “Share Purchase Agreement.”
15 23. In answer to the allegations of paragraph 23 of AISLIC’s Complaint,
16 Respondents
17- 0 answer that the “Share Purchase Agreement” provides that that
18 “Agreement contains the entire understanding and all of the agreements of
19 the parties with respect to the subject matter hereof ana1 supercedes all
20 prior agreements oral or written, and all other communication between the
21 parties, relating in any way to any sale or purchase of the Non-Voting
22 Shares owned by Austin” Firefighters’ Relief and Retirement Fund (1[ 6.4;
23 italics added) including but not limited to any negotiations between the
24 parties thereto and any information allegedly requested by or provided to
25 Austin Firefighters’ Relief and Retirement Fund.
26 o answer that as reflected in the minutes of the Board of Firefighters Relief
27 and Retirement Fund Trustees’ regular meeting conducted December 10,
28 2002 the Board of Firefighters Relief and Retirement Fund Trustees
` assistants -11.' Elestr __Tl_:g PAGEM

 

 

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1 “noted that the'Fund had no direct investment in the donated stock
2 certificates and the $2,000,000.00 net redemption offer would be in the
3 form of cash to the pension fund”, considered the advice of the Fund’s
4 legal counsel and auditors and approved the transaction contemplated by
5 the “Share Purchase Agreement.”
6 o deny the allegations of paragraph 23 of AISLIC’s Complaint except as
7 specifically admitted herein. l
8 24. In answer to the allegations of paragraph 24 of AISLIC’s Complaint,
9 Respondents
10 o admit the authenticity of the December 9, 2002 memorandum to Bill
11 Stefka from Reg Bendheim (BEND 003-006) and the December 9, 2002
12 facsimile to Bill Stefka from Reg Bendheim (BEND 007-012) attached to
13 AISLIC’s Complaint as Exhibit 2.
14 o deny the allegations of paragraph 24 of AISLIC’s Complaint except as
15 specifically admitted herein. l
16 o deny that the allegations of 1111 a-d of paragraph no. 24 adequately or
17 accurately characterize the written terms of Exhibit 2 to AISLIC’s
18 complaint '
19 o answer that the “Share Purchase Agreement” provides that that
20 “Agreement contains the entire understanding and all of the agreements of
21 the parties with respect to the subject matter hereof and supercedes all
22 prior agreements oral or written, and all other communication between the
23 parties relating in any way to any sale or purchase of the Non-Voting
24 Shares owned by Austin” Firefighters’ Relief and Retirement Fund (11 6.4;
25 italics added) including but not limited to any negotiations between the
26 parties thereto and any information allegedly requested by or provided to
27 Austin Firefighters’ Relief and Retirement Fund.
28 o answer that as reflected in the minutes of the Board of Firefighters Relief
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1 and Retirement Fund Trustees’ regular meeting conducted December 10,
2 2002 the Board of Firefighters Relief and Retirement Fund Trustees
3 “noted that the Fund had no direct investment in the donated stock
4 certificates and the $2,000,000.00 net redemption offer would be in the
5 form of cash to the pension fund”, considered the advice of the Fund’s
6 legal counsel and auditors and approved the transaction contemplated by
7 i the “Share Purchase Agreement.”
8 0 deny the allegations of paragraph 24 of AISLIC’s Complaint except as
9 specifically admitted herein. _
10 . 25. In answer to the allegations of paragraph 25 of AISLIC’s Complaint,
1 1 Respondents '
12 o deny that “the $2,000,000 purchase price was purportedly based upon”
13 annualized net income of Upper Deck for 2002 and deny that the
14 statements in Exhibit 2 to the Complaint were materially false or
15 misleading in any manner.
16 o answer that the “Share Purchase Agreement” provides that that .
17 “Agreement contains the entire understanding and all of the agreements of
l 18 the parties with respect to the subject matter hereof and supercedes all
19 prior agreements oral or written, and all other communication between the
20 parties relating in any way to any sale or purchase of the Non-Voting
21 Shares owned by Austin” Firefig.hters’ Relief and Retirement Fund (11 6.4;
22 italics added) including but not limited to any negotiations between the
23 parties thereto and any information allegedly requested by or provided to
24 Austin Firefighters’ Relief and Retirement Fund.
25 o answer that as reflected in the minutes of the Board of Firefighters Relief
26 and Retirement Fund Trustees’ regular meeting conducted December 10,
27 2002 the Board of Firefighters Relief and Retirement Fund Trustees
28 “noted thatithe Fund had no direct investment in the donated stock
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1 certificates and the $2,000,000.00 net redemption offer would be in the

2 form of cash to the pension fund”, considered the advice of the Fund’s

3 legal counsel and auditors and approved the transaction contemplated by

4 the “Share Purchase Agreement.”

5 o deny the allegations of paragraph 25 of AISLIC’s Complaint except as

6 specifically admitted herein,

7 26. ln answer to the allegations of paragraph 26 of` AISLIC’s Complaint,

8 Respondents

9 l o again admit the authenticity of KPMG’s written statements contained in
10 Exhibit 2 to AISLIC’s Complaint and further
ll o answer that Exhibit B to AISLIC’s Complaint speaks for itself.
12 o answer that the “Share Purchase Agreement” provides that that
13 “Agreement contains the entire understanding and all of the agreements of
14 the parties with respect to the subject matter hereof and supercedes all l
15 prior agreements oral or written, and all other communication between the
16 parties relating in any way to any sale or purchase of the Non-Voting
17 .Shares owned by Austin” Firefighters’ Relief and Retirement Fund (11 6.4;
18 italics added) including but not limited to any negotiations between the
19 parties thereto and any information allegedly requested by or provided to
20 Austin Firefighters’ Relief and Retirement Fund.
21 o answer that as reflected in the minutes of the Board of Firefighters Relief
22 and Retirement Fund Trustees’ regular meeting conducted December 10,
23 2002 the Board of Firefighters Relief and Retirement Fund Trustees
24 “noted that the Fund had no direct investment in the donated stock
25 certificates and the 82,000,000.00 net redemption offer would be in the
26 form of cash to the pension fund”, considered the advice of the Fund’s-
27 legal counsel and auditors and approved the transaction contemplated by
28 the “Share Purchase Agreement.’i’z

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0 deny the allegations of paragraph 26 of AISLIC’s Complaint except as
specifically admitted herein.
27. In answer to the allegations of paragraph 27 of AISLIC’s Complaint,
Respondents admit the execution and consummation of the “Share Purchase

Agreement” made and entered into as of the December 10, 2002 by and between

 

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The Upper Deck Company, Richard P. McWilliam, as trustee of the MPR"Trust and
the Austin Firefighters Relief and Retirement Fund. Except as specifically admitted
herein, Respondents deny the allegations of paragraph 27 of AISLIC’s Complaint.
Finally, Respondents

0 specifically deny that the allegations of paragraph 27 of AISLIC’s

Complaint have any bearing on any action by the Intemal Revenue Service
in connection with any of Respondents

o deny that the allegations of paragraph 27 of AISLIC’s Complaint have any
bearing on the existence of insurance coverage under AISLIC’s Policy of
insurance, and answer that

0 AISLIC has made the allegations in paragraphs 23-27 of AISLIC’s
Complaint in a deliberate attempt to mislead the arbitration panel with
allegations not germane to the outcome ofthis proceeding

28. In answer to the allegations of paragraph 28 of AISLIC’s Complaint,

Respondents

o deny that Upper Deck’s 2002 U.S. Income Tax Retum for an S
Corporation (Forrn 1120S) “reflect[s] net income” in the amount stated
(this figure does not match the amount stated in Schedule M-l, Line l).

o admit that Schedule K-l (Form 1120S), Shareholder’s Share of Income,
Credits Deductions etc. pertaining to the Austin Fire Fighters Relief and
Retirement Fund’s interest in the Upper Deck Company during 2002
reflects an allocation of “ordinary income” in the amount of $136,266,970.

¢ admit that Schedule K-l (Form 1120S), Shareholder’s Share of lncome,

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Credits Deductions etc. pertaining to the MPR Revocable Trust’s interest
in the Upper Deck Company reflects an allocation of “ordinary income” in
the amount ofs15,140,775. ' '

0 deny those allegations not expressly admitted herein,

29, In answer to the allegations of paragraph 29 of AISLIC’s Complaint,

 

 

 

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Respondents

0 deny any initial recognition on the part of Respondents “that the
transaction, as they carried it out [or otherwise], did not confer beneficial
ownership of the donated non-voting stock on Austin Firefighters Relief
and Retirement Fund.

0 admit that Respondent Richard P. McWilliam did not take a deduction for
his charitable contribution of the non-voting stock to the Austin
Firefighters’ Relief and Retirement Fund but further answer that there
were no tax consequences as a result of Mr. McWilliam’s failure to take
such a deduction. 3 l

30. ln answer to the allegations of paragraph 30 of AISLIC’s Complaint,
Respondents admit to the publication of a report entitled “The Role of Professional
Firrns in the U.S. Tax Shelter Industry” by a United States Senate Committee and
further answer that the written terms and conditions of that report speak for
themselves Except as specifically admitted herein, Respondents deny the
allegations of paragraph 30 of AISLIC’s Complaint.

31. In'answer to the allegations of paragraph 31 of AISLIC’s Complaint,
Respondents admit to the publication of a report entitled “The Role of Professional
Firms in the U.S. Tax Shelter Industry” by a United States Senate Committee and
further answer that the written~terms and conditions of that report speak for
themselves Except as specifically admitted herein, Respondents deny the
allegations of paragraph 31 of AISLIC’s Complaint.

32. In answer to the allegations of paragraph 32 of AISLIC’s Complaint,

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Respondents admit to the publication of a report entitled “The Role of Professional
Firrns in the U.S. Tax Shelter Industry” by a United States Senate Committee and
further answer that the written terms and conditions of that report speak for
themselves Except as specifically admitted herein, Respondents deny the

allegations of paragraph 32 of AISLIC’s Complaint.

 

33. In answer to the allegations of paragraph 33 of AISLIC’s Complaint,
Respondents admit to the publication of a report entitled “The Role of Professional

Firins in the U.S. Tax Shelter Industry” by a United States Senate Committee and

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further answer that the written terms and conditions of that report speak for

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themselves Except as specifically admitted herein, Respondents deny the

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allegations of paragraph 33 of AISLIC’s Complaint.

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34. In answer to the allegations of paragraph 34 of AISLIC’s Complaint,

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Respondents admit to the publication of a report entitled “The Role of Professional

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Firms in the U.S. Tax Shelter Industry” by a United States Senate Committee and

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further answer that the written terms and conditions of that report speak for

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themselves Except as specifically admitted herein, Respondents deny the

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allegations of paragraph 34 of AISLIC’s Complaint.

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35. In answer to the allegations of paragraph 35 of AISLIC’s Complaint,

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Respondents admit to the publication of a report entitled F‘The Role of Professional

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Firms in the U.S. Tax Shelter Industry” by a United States Senate Committee and

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further answer that the written terms and conditions of that report speak for

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themselves Except as specifically admitted herein, Respondents deny the

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allegations of paragraph 35 of AISLIC’s Complaint.

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36. In answer to the allegations of paragraph 36 of AISLIC’s Complaint,

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Respondents admit that the Internal Revenue Service published its Notice 2004-30
as lntemal Revenue Bulletin 2004-17 on April 26, 2004 and further answer that

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Notice 2004-30 is the subject of a coordinated issue paper issued by the IRS on

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November 8, 2004 “discuss[ing] the grounds for taxing the proper taxpayers on the

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income from the corporation’s business and disallowing deductions the taxpayers
improperly claim as a result of participating in Notice 2004-30 transactions”
Respondents deny the allegations of paragraph 36 of AISLIC’s Complaint are
adequate to accurately and completely characterize the contents of Notice 2004-30.

Respondents also deny that the “Share Purchase Agreement” had any causal

 

relationship with the lRS’s issuance of Notice 2004-30.
37. ln answer to the allegations of paragraph 37 of AISLIC’s Complaint,

Respondents admit that each of them supplied all notices of the publication of

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Notice 2004-30 to AISLIC that may have been required under the Policy, Except as
specifically admitted herein, Respondents deny the allegations of paragraph 37 of
AISLIC’s Complaint.

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38. ln answer to the allegations of paragraph 38 of AISLIC’s Complaint,
Respondents admit to the receipt of letter(s) dated April 7, 2005 from the IRS, the

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Written terms and conditions of which letters speak for themselves Except as

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specifically admitted herein, Respondents deny the allegations of paragraph 38 of
AISLIC’s Complaint.

39. _In answer to the allegations of paragraph 39 of AISLIC’s Complaint,
Respondents admit to the execution and return to the IRS of the April 7, 2005 letters

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identified in their response to paragraph 37 above. Except as specifically admitted

herein, Respondents deny the allegations of paragraph 39 of AISLIC’s Complaint.

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40. In answer to the allegations of paragraph 40 of AISLIC’s Complaint,

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Respondents admit AISLIC consented to Respondents’ execution and return of the

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IRS’ April 7, 2005 letters identified in paragraph 38 above. Respondents deny that

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AISLIC’s consent Was properly subject to any reservation of rights with respect

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thereto under the Policy of insurance

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41. In answer to the allegations of paragraph 41 of AISLIC’s Complaint,

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Respondents admit to having demanded AISLIC pay its Policy limit; however,

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except insofar as specifically admitted herein, Respondents deny the allegations of

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paragraph 41 of AISLIC’s Complaint. i

42. In answer to the allegations of paragraph 42 of AISLIC’s Complaint,
Respondents answer that the written terms and conditions of the Policy appended as
Exhibit 1 to AISLIC’s Complaint speak for themselves and, except as specifically
admitted herein, Respondents deny the allegations of paragraph 42 of AISLIC’s

 

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Complaint.

43. In answer to the allegations of paragraph 43 of AISLIC’s Complaint,
Respondents again answer that the written terms and conditions of the Policy of
insurance attached as Exhibit l to AISLIC’s Complaint speak for themselves and
further answer that on October 13, 2005 Respondents did file a complaint against
AISLIC in the United States District Court for the Southern District of Califomia, a
photocopy of which is attached to AISLIC’s Complaint as Exhibit 3, the terms and
conditions of which speak for themselves Except as specifically admitted herein,
Respondents deny the allegations of paragraph 43 of AISLIC’s Complaint.

44. In answer to the allegations of paragraph 44 of AISLIC’s Complaint,
Respondents answer thatithe written terms and conditions of the “California
Complaint” attached as Exhibit 3 to AISLIC’s Complaint speak for themselves and
except insofar as specifically admitted herein, Respondents deny the allegations of
paragraph 44 of AISLIC’s Complaint. i

45. In answer to the allegations of paragraph 45 of AISLIC’s Complaint,
Respondents answer that the written terms and conditions of the “Califomia
Complaint” attached as Exhibit 3 to AISLIC’s Complaint speak for themselves and
except insofar as specifically admitted herein, deny the allegations of paragraph 45
of AISLIC’s Complaint.

46. ln answer to the allegations of paragraph 46 of AISLIC’s Complaint,
Respondents answer that the written terms and conditions of the “Califomia
Complaint” attached as Exhibit 3 to AISLIC’s Complaint speak for themselves and

except insofar as specifically admitted herein, deny the allegations of paragraph 46

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of AISLIC’s Complaint.
47. In answer to the allegations of paragraph 47 of AISLIC’s Complaint,
Respondents incorporate and reallege their answers to the allegations of
paragraphs l through 46 of AISLIC’s Complaint as set forth above.
48. In answer to the allegations of paragraph 48 of AISLIC’ s Complaint
Respondents 47 7 in m j
o specifically deny that “pursuant to the shareholders agreement, Upper
Deck could only reacquire the non-voting shares if a third-party set the
price in a bona fide offer or if the Firefighters exercised its put right to
require Upper Deck to purchase the shares at then fair market value as
determined by appraisal.” ln support of this denial, Respondents
o answer that the “Shareholders Agreement” attached as Exhibit C to the
Policy of insurance appended to AISLIC’s Complaint as Exhibit l,
specifically Section 1 of the “Shareholders Agreement,” captioned
“Restrictions Against Transfer” unambiguously permits “sales transfers or
dispositions of’ what paragraph 48 of AISLIC’s Complaint characterizes
as “the non-voting sh'ares” without “conformity with the provisions of
Section 2 (providing for a right of first refusal prior to transfer “to a bona
fide, good faith purchase”), Section 3 (captioned “Disposition of Non-
Voting Shares Upon Specified Events”) or Section 5 (captioned “Put
Option and Right”) of th[e] Agreement, or as otherwise expressly provided
in th[e] Agreement” whenever “Firefighters obtain the prior written
consent of the Company (Upper Deck) and the other Shareholder(s) of the
Company” (Richard P. McWilliam, as Trustee of the MPR Trust).
0 Answer that the “Shareholders Agreement” does not speak at all to the
price_to be paid for the non-voting shares acquired with “the prior written ~
consent of the Company and the other Shareholder(s)” as specifically

permitted by Section 1 of the “Shareholders Agreement. ”

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l 0 answer that in the “Share Purchase Agreement” entered into as of
2 7 December 10, 2002 both Upper Deck and Richard P. McWilliam,as
3 Trustee of the MPR Trust “expressly waive[] the application of’ the
4 Shareholder Agreement, including the “Restrictions Against Transfer” set
5 forth in Section 1 thereby consenting to Upper Deck’s acquisition of the
j " 6 ' non-voting fs,liaré's"from vAu`st`in"Firerighters,’ Relief and Retirement'"l?und.
7 49. In answer to the allegations of paragraph 49 of AISLIC’s Complaint,
8 Respondents specifically deny “compel[ing] Firefighters to redeem its non-voting
9 common stock”
10 o either with the “assistance of KPMG” or otherwise
1 1 o or “at a price substantially below fair market value” or otherwise
12 o or “by misrepresenting that the $2 million purchase price was based on fair
13 market value” or otherwise
14 o or “by telling the Firefighters that ‘th[e] real fair market value is what The
15 1 ` Upper Deck Company is willing to pay for it”’ or otherwise
16 o or by “threatening that ‘any delay or attempt to adjust the purchase price
17 may put the Austin Firefighters at significant risk”’ or otherwise.
18 50. ln answer to the allegations of paragraph 50 of AISLIC’s Complaint,
19 Respondents
20 o deny “compel[ing] a redemption of Firefighter stock,” and
21 0 deny “violat[ing] [any of] the requirements set forth in the Shareholders
22 Agreement” whether such “requirements set forth in the Shareholders
23 Agreement” were “referenced in the KPMG opinions” or not.
24 51. In answer to the allegations of paragraph 51 of AISLIC’s Complaint,

25 Respondents state they find the allegations to be vague, ambiguous and barely

26 comprehensible, if comprehensible at all; however, to the extent Respondents are
27 able to ascribe meaning to the allegations of paragraph 51 of AISLIC’s Complaint,
28 Respondents deny each and every allegation of paragraph 51 in its entirety. '

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52. In answer to the allegations of paragraph 52 of AISLIC’s Complaint,
Respondents deny each and every allegation set forth therein in its entirety.

53. In answer to the allegations of paragraph 53 of AISLIC’s Complaint,
Respondents re-answer, re-allege and re-aver as set forth in paragraphs 1 through 52

above.

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Respondents re-answer, re-allege and re-aver in the same manner they answered,
alleged and averred to the allegations of paragraphs 12 of the Complaint as set forth
in paragraph 12 above.

55. In answer to the allegations of paragraph 55 of AISLIC’s Complaint,
Respondents deny each and every allegation set forth therein and in support of such
denial

o answer that the complete terms and conditions of the “Shareholders
Agreement” were set forth in ExhibitC to the Policy appended to
AISLIC’s Complaint as Exhibit 1

o answer that AISLIC in no way relied upon any characterizations of that
“Shareholders Agreement” by any of the “KPMG opinions” or the
Representation Letter; rather, AISLIC reviewed the “Shareholders
Agreement” for itself -

0 answer that AISLIC could not reasonably rely uponicharacterizations of
the “Shareholders Agreement” by either the KPMG opinions or the
Representation Letter because AISLIC had the actual “Shareholder
Agreement” and AISLIC appended the “Shareholder Agreement” to the
Policy,

¢ answer that the provisions of subparagraph (3) of paragraph 55 of
AISLIC’s Complaint (“the transaction set forth in the opinions was a
lawful strategy that ‘should’ survive IRS scrutiny”) was not a “fact,

assumption[] of fact, . . . [or] understanding[] of fact set forth in the

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opinions of KPMG,” but rather set forth the stated “opinion[] of KPMG,”
the risk of the incorrectness of which was willfully and deliberately

assumed by AISLIC and against which AISLIC indemnified Respondents

answer that the provisions set forth in subparagraph (1) of paragraph 55 of
AISLIC’s Complaint inaccurately asserts that the “Shareholders

 

'*"*"`Agre'ernent§’"setforth'inExhibit C to the Policy appended to AISLIC’s

Complaint as Exhibit 1 required that the price paid by Upper Deck to
acquire the stock in Upper Deck previously owned by the Austin
Firefighers’ Relief and Retirement Fund be “the fair market value of the
stock on the date . . [of] redemption” in all circumstances when in fact the
“Shareholders Agreement” attached as Exhibit C to the Policy of insurance
appended to AISLIC’s Complaint as Exhibit 1, specifically Section 1 of
the “Shareholders Agreement,” captioned “Restrictions Against Transfer”
unambiguously permits F‘sales, transfers or dispositions of” what paragraph
48 of AISLIC’s Complaint characterizes as “the non-voting shares”
without “conformity with the provisions of Section 2 (providing for a right
of first refusal prior to transfer “to a bona fide, good faith purchase”),
Section 3 (captioned “Disposition of Non-Voting Shares Upon Specified
Events”) or Section 5 (captioned “Put Option and Right”) of th[e]
Agreement, or as otherwise expressly provided in th[e] Agreement”
whenever “Firefighters obtain the prior written consent of the Company
(Upper Deck) and the other Shareholder(s) of the Company” (Richard P.
McWilliam, as Trustee of the MPR Trust). The “Shareholders
Agreement” does not speak at all to the price to be paid for the non-voting
shares acquired with “the prior written consent of the Company and the
other Shareholder(s)” as specifically permitted by Section 1 of the
“Shareholders Agreement.” And, in the “Share Purchase Agreement”
entered into as of December 10, 2002 both Upper Deck and Richard P.

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McWilliam, as Trustee of the MPR Trust “expressly waive[] the
application of” the Shareholder Agreement, including the “Restrictions
Against Transfer” set forth in Section 1 thereby consenting to Upper
Deck’s acquisition of the non-voting shares from Austin Firefighters’
Relief and Retirement Fund.

~answer that the §r`oiv'i'éidh§éf subparagraph '(2')"*i("*'11"*@”1'11161fUpp'er'fje<§l<i{c>'r"m
McWilliam had the power to compel Firefighters_to present the stock it
owned for redemption”) involve not a fact but rather a legal conclusion
pertaining to the effect of the written terms and conditions of the
“Shareholders Agreement” appended to the Policy as Exhibit C.

56. In answer to the allegations of paragraph 56 of AISLIC’s Complaint,
Respondents again admit that Upper Deck, the MPR Trust and the Austin
Firefighters’ Relief and Retirement Fund entered into the written “Shareholders
Agreement” as of March 31, 2001 and further answer that the written terms and
conditions of the “Shareholders Agreement” speak for themselves Except as
specifically admitted herein Respondents deny each and every allegation set forth in
paragraph 56 of AISLIC’S Complaint. In particular, Respondents

o deny “eliminating the requirement of a fair market value put price,”

0 deny the existence of a “fair market value put price” except in limited

circumstances which never occurred and which never became relevant and

o deny “breach[ing]” any “assumptions of fact contained in the KPMG

opinions”, “key” or otherwise. Respondents further answer there is no
legal meaning in paragraph 56’s use of the expression “breached key
assumptions of fact” nor does the Policy excuse AISLIC’s performance of
its promises in the Policy in the event of any “breach[]” of any
“assumptions of fact contained in the KPMG opinions”, ~“key” or
otherwise. Rather, the Policy provides in _Section' 3. EXCLUSIONS that

AISLIC “shall not be liable to make any payment for Loss in connection

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l with a Claim made against any Insured: . . . [‘\l ](b) arising out of, based
2 upon or attributable to any inaccuracy in the facts set forth or referenced in
3 the Representation Letter” dated September 4, 2001 attached to the Policy
4 as Exhibit B in which Upper Deck and the MPR Trust “represent[ed] and
5 warrant[ed] . . . [11] 1. [t]he facts assumptions of fact, and understanding
6w of fact set forth in themopinions of KPMG attached as Exhibit A to the 77
7 Policy were true and correct on the date of such opinions [May 2, 2001]
8 and continue to be true and correct on the date hereof [September 4,
9 2001].” There has been no “Loss . . . arising out of, based upon or

10 attributable to any inaccuracy in the facts set forth or referenced in the

` 11 Representation Letter.”

12 57. In answer to the allegations of paragraph 57 of AISLIC’s Complaint,

13 Respondents

14 c deny ever “compel[ling] Firefighters to redeem its non-voting common

15 stock .- . . in December of 2002” or at any other time,

16 0 deny “compel[ling] Firefighters to redeem its non-voting common Stock at

17 far below fair market value” or at any other value and

18 o deny “compel[ling] Firefighters to redeem its non-voting common stock”

_ 19 in any other manner or at any time or at any price.i

20 0 admit the authenticity of the documents contained in Exhibit 2 of

21 AISLIC’s Complaint and further answer that the written terms and

22 conditions of those documents speak for themselves And,

23 o except as specifically admitted herein, Respondents deny the allegations of

24 paragraph 57 of AISLIC’s Complaint.

25 58. In answer to the allegations of paragraph 58 of AISLIC’s Complaint,

26 Respondents i

27 o deny that the “Representation Letter” dated September 4, 2001 (executed

28 by The Upper Deck Company and Richard P. McWilliam as trustee of the v

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i 1 MPR Trust (but not individually)) attached as Exhibit B to the Policy
2 appended as Exhibit l to AISLIC’s Complaint omitted to disclose any
3 “facts, assumptions of fact, and understandings of facts set forth in the
4 opinions of KPMG” known to Respondents “on the date of such opinions
5 [May 2, 2001]” or on September 1, 2001.
751 06 n deny that Respondents ever, by any actor omission, increased lAISLIC;-s…' 77 7
7 risk of Loss under the Policy beyond that risk which Was knowingly and
8 deliberately assumed by AISLIC upon issuance of the Policy.
9 o answer that if “(1) KPMG Was engaged in a deceptive mass-marketing
10 campaign to generate fees; [or] (2) KPMG did not act and had no intent to
ll act as a truly independent professional in rendering its opinions [or] (3)
12 KPMG had identified problems with the transaction which it failed to
13 address or disclose in the KPMG opinions”, then Respondents.had no
14 knowledge of (1), (2) and/or (3) and, Respondents are informed and
15 believe and thereon allege, AISLIC did have knowledge of each of (1), (2)
16 and (3) and AISLIC acted m complicity with KPMG.
17 59. In answer to the allegations of paragraph 59 of AISLIC’s Complaint,
18 Respondents
19 o deny making any “misrepresentations” in what AISLIC characterizes as a
20 “Representation and Warranty Letter” and what the Policy denominates
21 the “Representation Letter” which “increased AISLIC’s risk of loss under
22 ' the Policy,” materially or otherwise.
23 o deny or “omit[ing]” of facts known to Respondents from what AISLIC
24 characterizes as a “Representation and Warranty Letter” and what the
25 Policy denominates as the “Representation Letter” which facts “increased
26 AISLIC’s risk of loss under the Policy” either materially or otherwise.
27 o deny misleading AISLIC in any respect in connection with AISLIC’s
28 underwriting of the Policy.

 

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0 deny that any alleged “misrepresentations and omissions in the KPMG
opinions” by KPMG misled AISLIC in connection with AISLIC’s
underwriting of the Policy and further answer that AISLIC underwrote the

’ Policy based on its own independent investigation of various taxing

authorities’ anticipated treatment of the SC2 transactions

 

60§ y 7 ln answertothe allegations of paragraph 60"of AISLIC’s Complaint; w 7

Respondents

0 deny breaching any warranty to AISLIC.

o deny that any breach of warranty by any Respondent to AISLIC could ever
suspend or excuse AISLIC’s performance of its contractual obligations to
any Respondent under the Policy Without AISLIC’s affirmative proof that
a Loss otherwise insured under the Policy is excluded by application of
those provisions of Section 3. EXCLUSIONS which specify AISLIC
“shall not be liable to make any payment for Loss in Connection with a
Claim made against any Insured: . . . [11 ](b) arising out of, based upon or
attributable to any material inaccuracy in the facts set forth or referenced
in the Representation Letter” (italics added). To the extent the allegations
of COUNT ll of AISLIC’s Complaint (1111 53-60), if proved, may ever
under any circumstances set forth a defense to a claim for Policy benefits
by any Respondent, COUNT II is redundant and extraneous surplus which
is unduly repetitious of COUNT III (‘\l‘ll 61-63) pertaining to Exclusion (b).

61. In answer to the allegations of paragraph 61 of AISLIC’s Complaint,

Respondents re-answer, re-allege and re-aver in the same manner as they responded

to paragraphs 1 through 60 of AISLIC’S Complaint in paragraphs l through 60

above.

62. In answer to the allegations of paragraph 62 of AISLIC’s Complaint,

Respondents admit the authenticity of the Policy of insurance attached to AISLIC’s

Complaint as Exhibit 1 and further answer and affirmatively allege that the written

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terms and conditions of the Policy, including exclusion (b) thereto, speak for
themselves Except as specifically admitted herein, Respondents deny the
allegations of paragraph 62 of AISLIC’s Complaint.

63. In answer to the allegations of paragraph 63 of the Complaint, which
purports to recount the matters “set forth above” in paragraphs l through 62 of

 

 

AISLIC’s Complaint, Respondents again re-answer, re-allege and re-aver as set
forth in their responses to paragraphs 1 through 62 of AISLIC’s Complaint as Set
forth in paragraphs l through 62 above. ln further answer to the allegations of

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paragraph 63 of AISLIC’s Complaint, Respondents

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¢ deny “compel[ling] Firelighters to redeem its non-voting common stock”

either “at far below fair market value” or otherwise.

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deny “materially . . . alter[ing] the transaction which had been represented

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to AISLIC” either “materially” or otherwise.

deny there had ever been a requirement of an “element of fair market

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value” for the December 2002 transaction, either “critica ” or otherwise..

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64. ln answer to the allegations of paragraph 64 of AISLIC’s Complaint,

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Respondents re-answer, re-allege and re-aver to the allegations of paragraphs 1

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through 63 of AISLIC’s Complaint in the same manner as set forth in paragraphs 1

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through 63 above.

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65. In answer to the allegations of paragraph 65 of AISLIC’s Complaint,

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b_l

Respondents admit the authenticity of the Policy of insurance attached to AISLIC’s

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Complaint as Exhibit l and further answer and affirmatively allege that the written

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terms and conditions of the Policy, including exclusion (h) thereto speak for

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themselves Except as specifically admitted herein, Respondents deny the

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allegations of paragraph 65 of AISLIC’s Complaint.

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66. In answer to the allegations of paragraph 66 of AISLIC’s Complaint,

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Respondents admit to Upper Decks’, the MPR Trust’s and Austin Firefighters’

Relief and Retirement Fund’s execution of an agreement entitled “Shareholders

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attorneys at law

 

 

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1 Agreement” dated as of December 10, 2002 and further answer that the written

2 terms and conditions of` that “Shareholders Agreement”, including clause 5.3

3 thereof, speak for themselves

4 67. ln answer to the allegations of paragraph 67 of AISLIC’s Complaint,

5 Respondents
6 5 o vcia}iy"ui'c"allagat'iar{ih'a{liic *¢tcnhication ofihc s`harchoidcm""hgmmcméa6 6

7 v [attached as Exhibit C to the Policy appended to AISLIC’s Complaint as

8 Exhibit No. 1] is an amendment thereof’ and further

9 o deny that any “termination of the Shareholders Agreement” attached as
10 Exhibit C to the Policy appended to AISLIC’s Complaint as Exhibit No. l
1 1 had any causal nexus with any Loss addressed by the Policy and further
12 o deny that “an[y] amendment” of the Shareholders Agreement attached as
13 Exhibit C to the Policy appended to AISLIC’s Complaint as Exhibit No. 1
14 had any causal nexus with any loss addressed by the Policy and further
15 0 answer that Section 8 of the “Shareholders Agreement” captioned
16 “Termination Of Agreement” provides that [t]he Agreement shall
17 terminate” by its own terms “on the occurrence of any of the following
18 events: . . . [11]8.3 at such time as only one (1) Shareholder with the
19 Company remains.” Upon Upper Deck’s acquisition of those shares in the
20 Upper Deck Company previously held by the Austin Firefighters Relief
21 and Retirement Fund in December of 2002 (with the “prior written consent
22 ` of the Company and the other Shareholder(s) of the Company”
23 contemplated by section l of the “Shareholders Agreement”), there was
24 .“only one (l) Shareholder of the Company remain[ing]” and the
25 “Shareholder Agreement” terminated by its own terms This “termination
26 of the Shareholders Agreement” by its own terms was not “an amendment
27 thereof” and it did not and does not operate to exclude any Loss from

7 28 coverage under the Policy under exclusion (h) or otherwise.
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1 68. ln answer to the allegations of paragraph 68 of AISLIC’s Complaint,
2 Respondents re-answer, reallege and reaffirm their responses to the allegations of
3 paragraph 1 through 67 of AISLIC’s Complaint as set forth in paragraphs l through
4 67 above. 6 6
5 69. In answer to the allegations of paragraph 69 of AISLIC’s Complaint,
6 66 6Respondents againadniit theauthentieity ofthe Policy of insurance attached as7 6 6 66 6
7 Exhibit 1 to AISLIC’s Complaint and again further answer that the written terms
8 and conditions of the Policy of insurance including exclusion (a) thereof speak for
9 themselves
10 70. In answer to the allegations of paragraph 70 of AISLIC’s Complaint,
ll Respondents
12 o deny that “the transaction affected by Respondents in December 2002 was
13 not consistent with the transactions described in the KPMG opinions” and
14 o answer that the transactions effectuated pursuant to the Share Purchase
15 Agreement dated December 10, 2002 were consistent in all material
16 respects With “the transaction described in the “KPMG opinion” and in
l 17 particular was perfectly consistent with the “Shareholder’s Agreement”
18 attached as Exhibit C to the Policy appended to AISLIC Complaint as
19 Exhibit No. 1 and alluded to in the “KPMG opinions
20 o deny that “the exception to exclusion (a) [for ‘effecting the transactions
21 described in the Opinions and the filing of Tax Retums with any Taxing
22 Authority by the Insureds consistent with the transactions described in the
23 Opinions’] does not apply” to any other Loss_ resulting from any
24 transactions which transpired in December 2002 and
25 o deny that Loss (as that term is defined in the Policy) arose from, was based
26 upon or was attributable to any transaction transpiring in December of
27 2002. z
28 71. ln answer to the allegations of paragraph 71 of AISLIC’s Complaint
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1 Respondents
2 0 deny that “the taxes incurred by Respondents arose from the transaction in
6 3 December 2002.”
4 0 deny any causal connection Whatsoever between any taxes incurred by any
5 Respondent and execution or consummation of the “Share Purchase
6666 6 Agiee'rhéiii€i{l§é¢éhit§éfbf 26002.5*66 66 6 66 6 666666 6
7 0 answer that the three separate letters to Respondents from the IRS dated
8 April 7, 2005 reveal on their face that “[n]o adjustment will be made to the
9 S Corporation’s [Upper Deck’s] treatment of the redemption” of stock
10 from the Austin Firefighters’ Relief and Retirement _Fund Which “are
6 11 capital expenditures and will not affect the shareholder’s stock basis.”
12 o deny any “deliberate acts of fraud” either of the nature alleged in
13 paragraph 71 of AISLIC’s Complaint, or otherwise.
14 72. In answer to the allegations of paragraph 72 of AISLIC’s Complaint,
15 Respondents deny that exclusion (a) of the Policy or any other exclusions set forth
16 in the Policy apply to preclude coverage for losses sustained by any of Respondents
17 73. In answer to the allegations of paragraph 73 of AISLIC’s Complaint,
18 Respondents admit that the Complaint appears to have accurately quoted one
19 provision of Califomia Corporations Code but demur that the provision cited and
20 quoted has no application to anything in dispute between AISLIC and any of the
21 Respondents, either in this arbitration proceeding or otherwise.
22 74. In answer to the allegations of paragraph 74 of AISLIC’s Complaint,
23 Respondents deny each and every allegation set forth therein and demur that the

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allegations are irrelevant to AISLIC’s obligations to Respondents under the Policy.

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75. ln answer to the allegations of paragraph 75 of AISLIC’s Complaint,

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Respondents re-answer and reallege their response.to paragraphs 1 through 74 of

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AISLIC’s Complaint as set forth in paragraphs 1 through 74 above.
76. ln answer to the allegations of paragraph 76 of AISLIC’s Complaint, 6

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1 Respondents
2 o admit that the Policy imposes an obligation of good faith and fair dealing
6 3 on AISLIC but _
4 9 deny that any action by any Respondent altered any transaction presented
5 to AISLIC in the underwriting of the Policy either in a manner likely to
6 increasetlie6likeliheodofa66t6ax6authority challenging the transaction 6
7 o deny that any action by any Respondent after the inception date of the
8 ~ Policy increased the likelihood of any a tax authority prevailing in the
9 event of its challenge of any transaction engaged in by Respondent and
10 relevant to AISLIC’s obligations under the Policy
ll o deny any obligation under AISLIC’s Policy (implied or express) to refrain
12 from taking any action actually undertaken by any Respondent, including
13 the execution and consummation of the December 2002 “Share Purchase
14 Agreement.”
15 77. In answer to the allegations of paragraph 77 of AISLIC’s Complaint,
16 Respondents
l7 o again admit the authenticity of the Policy attached to AISLIC’s Complaint
18 as Exhibit No. 1 and answer that the written terms and conditions of the
19 Policy of insurance', including Article 10 thereof, speak for themselves
20 0 answer that any rights of subrogation may every be held by AISLIC under
21 the Policy of insurance by AISLIC are expressly conditioned on AISLIC
22 “mak[ing] . . . payment under [t]he [P]olicy in respect of [L]oss” and
23 answer further that AISLIC has made no such payment.
24 o deny that Respondents have in any manner impaired any conceivable right
25 of AISLIC to subrogation under the Policy.
26 78. ln answer to the allegations of paragraph 78 of AISLIC’s Complaint,
27 Respondents
28 o deny in any manner “compelling firefighters to redeem its non-voting

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1 stock” either by “entering into the ‘Share Purchase Agreement”’ or
2 . otherwise, whether “at a price substantially below fair market value” or
6 3 otherwise.
4 0 deny failing to observe any requirement actually set forth in any of the
5_ KPMG opinions
6 66 666 6 0 deny the existenee ef any requirement, whether set forthin the KPMG
7 opinions or otherwise, that the non-voting stock be redeemed at a purchase
8 price not substantially above or below fair market value of the stock.
9 o answer that the Share Purchase Agreement entered into on December 10,
10 2002 was consistent with the “Shareholder’s Agreement” attached as
1 1 Exhibit C to the Policy of insurance appended to AISLIC’s Complaint as
1 2 Exhibit C.
13 79. In answer to the allegations of paragraph 79 of AISLIC’s Complaint,
14 Respondents
15 o answer that “the transaction” spoken of in paragraph no. 79 is not
16 identified in a manner sufficient to allow Respondents to identify “the
17 transaction.” Because of Respondents inability to completely make sense
18 of the allegations of paragraph 79 of AISLIC’s Complaint, Respondents
l9 deny the allegations of paragraph 79 in their entirety.
20 o . deny that any action by any Respondent after the inception date of the
21 Policy on August 29, 2001 increased the likelihood of any indemnifiable
22 Loss under the Policy in any manner.
23 80. In answer to the allegations of paragraph 80 of AISLIC’s Complaint,
24 Respondents deny each and every allegation set forth therein.
25 81. In answer to the allegations of paragraph 81 `of AISLIC’s Complaint,
26 Respondents re-answer and reallege their responses to the allegation of paragraphs l v
27 through 80 of AISLIC’s Complaint as set forth in paragraphs 1 through 80 above.
28 82. In answer to the allegations of paragraph 82 of AISLIC’s Complaint,
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`34` ExHissT ___;_; PA:GEM

 

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l Respondents

2 o admit the authenticity of the Policy of insurance attached to AISLIC’s

3 Complaint as Exhibit No. 1.

4 o answer that the written terms and conditions of the Policy, including

5 section 9(b) thereof, speak for themselves _ 6

6 6 6 .6 666in 616666661616§6666666riff>arégiaph 666626666£6}&16561;@6’636Coiiiplain{ except as

7 specifically admitted herein,

8 83. In answer to the allegations of paragraph 83 of AISLIC’ s Complaint,

9 Respondents
10 o again admit the authenticity of the “KPMG opinions” attached as Exhibit
11 A to the Policy of insurance appended to AISLIC’s Complaint as Exhibit
12 No. 1.
13 o again answer further that the written terms and conditions of “KPMG
14 opinions” speak for themselves
15 o deny that any of the “KPMG opinions” state an “anticipat[ion] that ‘the
16 Shareholder [McWilliam (sic)] will be entitled to a charitable deduction
17 for the fair market value of the stock the Shareholder donated” and in
18 support of this denial
19 ¢, answer further that the May 2, 2001 “KPMG Opinion” regarding
20 “Charitable contribution to Austin Firefighters Relief and Retirement
21 Fund, after reciting .“you have requested the opinion of KPMG LLP . . . as
22 6 to certain Federal income, California State incomeand Federal gift tax
23 consequences to you and The Upper Deck Company . . . With respect to
24 the charitable contribution” (p. l) concludes: “It is more likely than not
25 that the Shareholder will be entitled to a charitable deduction for the fair
26 market value of the stock the Shareholder donated.” (p. 4, 11 5;
27 underscoring in original; emphasis added.) This “KPMG Opinion”
28 elaborates on explicit limitations on the potential tax benefits of such a

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1 deduction recognizing that in some circumstances there may be no tax
2 benefit. These statements make the possibility that a prospective
3 charitable deduction may turn out to have no tax advantages for the
4 6 Shareholder. .
5 o answer that, in contrast, the May 2, 2001 “KPMG Opinion” regarding
6 666v 66“Te)66;at6)16e6i}1eeme`eileeeiieri ef 6U6p6per DeekCempany” recites “[y]ou have
7 requested the opinion of KPMG LLP . . . as to how the taxable income of
8 The Upper Deck Company . . . should be allocated to you for Federal and
9 Califomia State income tax purposes” (p. 1), concludes “it is more likely
10 than not that for Federal and vCalifornia State income tax purposes, the
11 post-March 31, 2001 items of income, gain, loss, deduction, or credit of
12 Upper Deck will be Allocated” 10% to the holders of voting common
13 stock and 90% to holders of non-voting common stock” (p. 2), and advised
14 that after 03/03`/01 “income should be allocated” 10% to Mr. Richard
15 McWilliam and 90% to the Municipal Plan (p. 5).
16 84. In answer to the allegations of paragraph 84 of AISLIC’s Complaint,
17 Respondents
' 18 o deny that any condition precedent, whether explicit or implied, to
19 Respondents’ right to indemnification under the Policy has not or cannot
20 be met.
21 o deny that Respondent McWilliam’s assertion of a right to a charitable
22 deduction for the shares of the non-voting common stock that he donated
23 to the Austin Firefighters’ Relief and Retirement Fund was or is a
24 condition precedent to any Respondent’s assertion of rights to
25 indemnification under the Policy of insurance
26 0 admit that Mr. McWilliam did not claim a charitable deduction on his
27 2001 income tax return for the value of non-voting shares of stock donated
28 to Austin Firefighters’ Relief and Retirement Fund in 2001 deny that this

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l circumstance was causally related in any way to any “Insured Tax Event”,
2 to any “Insured Tax Loss”, or to any “Loss” as those terms are defined in
3 the Policy. g 6
4 o demur to the relevance of any of the matters alleged in paragraph 84.
5 85. ln answer to the allegations of paragraph 85 of AISLIC’s Complaint,
6 6 6Respondents66re-6ariswer 6and reallege their responses to allegations of paragraph 1
7 through 84 of AISLIC’s Complaint as set forth in paragraphs 1 through 84 above.
8 86. ln answer to the allegations of paragraph 86 of AISLIC’s Complaint,
9 Respondents 6
10 o again admit the authenticity of the Policy of insurance attached to
11 AISLIC’s complaint as Exhibit l and
12 o again answer that the written terms and conditions of the Policy, including
13 section 16 thereof, speak for themselves q
14 o deny the allegations of paragraph 86 of AISLIC’s complaint except as
15 specifically admitted herein,
16 87. ' In answer to the allegations of paragraph 87 of AISLIC’s Complaint,
17 Respondents `
18 - o again admit the authenticity of the Policy of insurance attached to
19 AISLIC’s complaint as Exhibit 1 and
20 o again answer that the written terms and conditions of the Policy, including
21 section 16 thereof, speak for themselves
22 o deny the allegations of paragraph 87 of AISLIC’s complaint except as
23 specifically admitted herein. 6
24 88. ln answer to the allegations of paragraph 88 of AISLIC’s Complaint,
25 Respondents
26 o again admit the authenticity of the policy of insurance appended to
27 AISLIC’s Complaint as Exhibit 1 and again answer and allege that the
28 written terms and conditions of the Policy speak for themselves

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o deny the enforceability of any provisions that may be in the Policy
restricting Respondents’ ability to recover damages in excess of the
Policy’s limits of liability.

0 except as specifically admitted herein, Respondents deny each and every

allegation of paragraph 88 of AISLIC’s Complaint.

 

 

SEPARATE DEFENSES
First Separate Defense
(Failure to Comply with AAA Rule R-4,

Initiation under an Arbitration Provision in a Contract)

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89. As a separate defense to AISLIC’s Arbitration Complaint and Demand

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for Arbitration et al., Respondents answer that AISLIC’s response of “N/A” to the

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Commercial Arbitration Rules Demand for Arbitration forms inquiry regarding

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“dollar amount of claim” was willfully false and that the amount of AISLIC’s claim
is in fact not less than Fif`ty Million Dollars ($50,000,000) and that AISLIC’s

representation that the amount of its filing fee is limited to $3,250 was willfully

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false. As revealed in AISLIC’s Complaint’s annexation of Upper Deck’s complaint

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in case of Upper Deck Company et al v. American lnternational Specialty Lines
Insurance Company, United states Distriet Court for the seuthem Distriet er
California Case No. 05 CV 1945 IEG (RBB) which is appended to AISLIC’s
Complaint As Exhibit 3 (“Upper Deck’s Federal Court Complaint”), AISLIC’s

Complaint is a monetary claim in an amount in excess of $50,000,000. AISLIC

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should not be permitted to proceed with its demand for arbitration unless and until,
at a minimum, AISLIC has paid the case service fee of $6,000, the base fee of
$12,500 and 0.01% of the amount of AISLIC’s $50,000,000 claim in excess of
$10,000,000.

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Second Separate Defense
(Demand for Arbitration and Arbitration Complaint Barred by Exhibit 3 Thereto)
90. AS a separate defense to AISLIC’s Demand for Arbitration and

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Arbitration Complaint, Respondents assert and incorporate the allegations of their
complaint in case of Upper Deck Company et lal v. American International Specialty
Lines Insurance Company, United States District Court for the Southern District of '
California Case No. 05 CV 1945 IEG (RBB) which is appended to AISLIC’s
Complaint As Exhibit 3 (“Upper Deck’s Federal Court Complaint”).

6 696166.6 Respoiidentsfiirthef6al61ege that AISLIC has filed 666 served a666rri<6)tiorg6

 

 

currently scheduled for hearing in the case of complaint in case of Upper Deck
Company et al v. American Intemational Specialty Lines Insurance Company,

United States District Court for the Southern District of California Case No. 05 CV

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1945 IEG (RBB) on January 3, 2006 asking for an order compelling arbitration of

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matters asserted in “Upper Deck’s Federal Court Complaint” At a minimum, any

arbitration of this matter must await resolution of that motion.

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Third Separate Defense

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(Unconscionability of Arbitration Provisions)

92. As a separate defense to AISLIC’s Demand for Arbitration and the
allegations of AISLIC’s Arbitration Complaint, Respondents allege that AISLIC
contends the following portion of Section 16. ARBITRATION AND CHOICE OF
LAW of the Policy

“No award of the arbitrators or judgment of any court with respect to

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any award, dispute or controversy shall be entered in an amount

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exceeding the applicable Limit of Liability set forth in the Policy. The

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Insurer shall have no obligation to pay or reimburse any Insured’s legal

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expenses incurred in mediating or arbitrating a claim or dispute under

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this Policy, except to the extent specified in the arbitrator(s) award, in

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which event such legal expenses will be included in the Loss payable

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by the Insurer in accordance with, and subject to the Retention, Limit

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of Liability and other terms, conditions and exclusions of, this Policy.”

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(the “Limitation Clau_se”) operates either independently or in conjunction with that

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portion of Section 16. ARBITRATION AND CHOICE OF LAW which provides:
“The arbitration shall be subject to the Federal Arbitration Act and, to
the extent such Act is n_ot applicable, the laws of the State of New

York. The construction validity and performance of this Policy shall

be governed by the laws of the State of New York, provided, however,

 

 

the relevant terrns, conditions, provisions or exclusions of the Policy,
without regard to the authorship of the language and without any
presumption in favor of either party.” 6
(“The “New York Law Clause”) to effectively prohibit any arbitrators from
awarding punitive damages or other extra contractual damages to the Insureds in
this case if the Insureds’ “Insured Tax Loss” already exceeds $50,000,000. As so
interpreted by AISLIC, the Limitati.on Clause and the New York Law Clause are
both unconscionable and unenforceable and to the extent the Limitation Clause and
New York Law Clause are not severable from Section 16 of the Policy the entirety
of Section 16 of the Policy is unconscionable and unenforceable and this matter is
not subject to arbitration.
Fourth Separate Defense
(Unclean Hands)

93. As a separate defense to AISLIC’s Demand for Arbitration and
Arbitration Complaint, Respondents answer and allege that AISLIC’s Demand for
Arbitration and AISLIC’s Arbitration Complaint are barred by AISLIC’s own
unclean hands in that, among other things, if the allegations in 1111 30-36, 55(3) and
58 of AISLIC’s Arbitration Complaint are in any manner correct, AISLIC was
complicity with KPMG and acted with unclean hands

Fifth Separate Defense
(Illegality of Arbitration Provisions)
94. As a separate defense to AISLIC’s Demand for Arbitration and

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thatthe Policy shallbeeonstruedin 6the manner most consistent with66 66

 

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Arbitration Complaint, Respondents allege the Limitation Clause in Section 16 of
the Policy is illegal, and unenforceable, under both New York and California law
and that to the extent the Limitation Clause is not or cannot be severed from Section
16, Section 16 itself is illegal and unenforceable, Respondents allege, on

information and belief, that AISLIC contends that the Limitation Clause is not an

 

 

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unenforceable and this matter is not subject to arbitration.

RESERVATION OF RIGHT TO COUNTER CLAIM AGAINST CLAIMANT
AND COUNTERCLAIMANT RESPONDENT AMERICAN
INTERNATIONAL SPECIALTY LINES INSURANCE COMPANY
Consistent with Rules 4_ and 6 of AAA’s Commercial Arbitration Rules

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(lnitiation under an Arbitration Provision in a Contract and Changes of Claim) the

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.b.

Upper Deck Company, a California corporation, and Richard P. McWilliam,

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individually and as trustee of the MPR Trust reserve the right to assert a

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counterclaim against AISLIC of the same nature and type as asserted in Upper

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Deck’s Federal Court Complaint. Respondents reserve the right to assert such a

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counterclaim unilaterally at any time prior to appointment of arbitrators in

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connection with this matter and reserve the right to assert such a counterclaim, with

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the consent of the arbitrators at any time after appointment of the arbitrators and

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reserve the right to assert a counterclaim at any other time permitted by law.

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WHEREFORE; lnsureds pray for an award and ultimately judgment in their

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favor and against AISLIC, and each of them, as follows:

1. F or a declaration that AISLIC is not entitled to demand arbitration of

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the matters set forth in its arbitration demand and arbitration complaint and for

dismissal of AISLIC’s demand for arbitration

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2. Alternatively, Respondents pray for an arbitration award in favor of

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Respondents and against AISLIC declaring

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1 a. Respondents are entitled to recover from AISLIC the amount of
2 compensatory damages, both special and general, proved by Respondents at hearing
3 or trial; _ g

4 b. Respondents are entitled to recover from AISLIC in the amount

5 of exemplary damages proved by Respondents at hearing or trial;

66 666 6 c.v Respondents are entitled to recover from 6AISLIC those 66 66
7 attorneys’ fees and costs incurred by Respondents in this matter, if and to the extent
8 provided for by applicable law, ; j
9 d. Respondents are entitled to recover from AISLIC prejudgment

10 interest on all awards in favor of Respondents in the maximum amount allowed by
11 law from the date such damages became due; and

12 3. And in any event, for such further relief as the arbitration panel in its
13 discretion deems just and appropriate

14 Dated: December 7, 2005 RUTA %

15 By: /,/

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17 §/}1(;€:\?`1]{ lper Deck C pany and Richard P.
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PROOF OF SERVICE BY MAIL
STATE CF CALIFORNIA, COUNTY OF ORANGE

l am employed by the law office of Rutan & Tucker, LLP in the County of Orange, State of
Califomia. 1 am over the age of 18 and not a party to the within action. My business address is
611 Anton Boulevard, Fourteenth Floor, Costa Mesa, California 92626-1931.

 

6 On6ljecernber 76, 2600656,6I served onthemterested parties insaid action thewlth1n6

RESPONDENTS THE UPPER DECK COMPANY’S AND RICHARD P.
MCWILLIAM’S, INDIVIDUALLY'AND AS TRUSTEE FOR THE MPR TRUST,
ANSWER TO THE ARBITRATION COMPLAINT OF AMERICAN INTERNATIONAL
SPECIALTY LINES INSURANCE COMPANY; DEMAND FOR THREE ARBITRATORS

by placing a true copy thereof in sealed envelope(s) addressed as stated below:

Robert E. Cushner, Esq.
Peter A. Stroili, Esq.
Dimato & Lynch

70 Pine Street

New York, NY 10270-01'10

In the course of my employment with Rutan & Tucker, LLP, I have, through first-hand
personal observation, become readily familiar with Rutan & Tucker, LLP’s practice of collection
and processing correspondence for mailing with the United States Postal Service. Under that
practice I deposited such envelope(s) in an out-box for collection by other personnel of Rutan &
Tucker, LLP, and for ultimate posting and placement With the U.S. Postal Service on that same day
in the ordinary course of business If the customary business practices of Rutan & Tucker, LLP
with regard to collection and processing of correspondence and mailing were followed, and I am
confident that they were, such envelope(s) were posted and placed in the United States mail at
Costa Mesa, California, that same date. I am aware that on motion of party served, service is
presumed invalid if postal cancellation date or postage meter date is more than one day after date
of deposit for mailing in affidavit

Executed on December 7, 2005, at Costa Mesa, Califomia.

I declare under penalty of perjury under the laws of the State of California that the
foregoing is true and correct,

Mieheile Mami . /XM /7/69/16/_»\

(Type or print name) (Signature)

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EXHIBIT K

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Richard K. How_ell State Bar No. 144241
Duke F. Wahlqul_st State Bar No. 117722
BradleK]A. Cha m State Bar No. 232885

RUTA & TU KE , LLP

611 Anton Boulevard, Fourtecnth Floor
Costa Mesa, Cahfornia 92626-1931
Telephone: 714-641-5100

Facsimile: 714-546-9035

Emall: rhowell@rutan.com

 

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""Attorneys for Res ondents and Counter¢claimantsm `
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The U er Deck

 

 

McWi iam, individua ly and as Trustee for the

MPR Trust

k AMERICAN ARBITRATION ASSOCIATION

AMERICAN INTERNATIONAL
SPECIALTY LINES INSURANCE
_COMPANY and DOES 1 through 10,
inclusive,

Claimant,

V.

THE UPPER DECK COMPANY, a
California co oration, and

RICHARD P. CWILLIAM,
ilndividually, and as Trustee for the MPR
rust,

Respondents.

 

THE UPPER DECK COMPANY a
California corporatlon, MPR TRUST, a

revocable trust, and

RICHARD P. MCWILLIAM,
ilndividually, and as Trustee for the MPR
rust, 1

Counter-Claimant,
v.
AMERICAN lNTERNATIONAL
SPECIALTY LINES INSURANCE
_COMI_’ANY and R()ES l through 10,
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Counter-Respondents.

 

 

 

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THE UPPER DECK COMDA NY’S,
MPR TRUST’S, AND RICHARD,P.
MCWILLIAM’S INDIVIDUALLY
AND AS TRUSTEE FOR THE MPR
TRUST, COUNTERCLAIM
AGAINST AMERICAN
INTERNATIONAL SPECIALTY
LINES INSURANCE COMPANY

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The Upper Deck Company, a California corporation, MPR Trust, a revocable
trust, and Richard P. McWilliam, individually and as trustee of the MPR Trust, for
their counterclaim complaint against defendant American lnternational Specialty
Lines Insurance Company allege and pray as follows: l

1. Counterclaim Plaintiff The Upper Deck Company (“Upper Deck”) is a

 

California corporation duly organized and in good standing under the laws of the
State of Califomia. Upper Deck’s principal place of business is now, and at all

times relevant hereto was, in the City of Carlsbad, Califomia.

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2. ` AS Ofthe 111ng Ofthis Counterclaim the MPR Trust is the SOle

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shareholder of Upper Deck.

3. Plaintiff Richard P. McWilliam is an individual residing in the State of

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Nevada.
4. Richard P. McWilliam also serves as trustee of plaintiff MPR Trust
(“Trustee”). Upper Deck, MPR Trust, and Richard P. McWilliam, individually and

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as Trustee, are hereinafter referred to collectively as “Insureds.”

5. lnsureds are informed and believe and based thereon allege that

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defendant American International Specialty Lines Insurance Company (“AISLIC”)

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-is now, and at all times relevant hereto was, an Alaska corporation authorized to

underwrite insurance in the State of California as a surplus lines insurer with its

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principal place of business in New York,` New York. However, Insureds are

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informed and believe and based thereon allege that AISLIC is not authorized to

conduct the business of insurance in the State of‘Ncw York and is not subject to the

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supervision of insurance regulators in the State of New York.

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6.` In or about October 2001, for good and valuable consideration

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including the payment of $3,250,000 in premiums by the Insureds (hereinafter
sometimes also referred to collectively as “Counterclaimants”), AISLIC issued its

Fiscal Event Insurance Policy no. 405-88-33 to the Insureds (the “Policy”). AISLIC

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represented to lnsureds and Insureds believed that AISLIC had designed the Policy

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Case 3:05-cV-01945-|EG-RBB Document 23 Filed 04/09/07 Pge|D.469 Page 48 of 63

to insure against risks that federal and state taxing authorities would challenge the

tax benefits claimed by the Insureds to inure to the lnsureds’ benefit as the result of
the Insureds’ implementation of a tax strategy designed by KPMG, LLP ("KPMG")
and referred to as “SCZ.” Insureds had implemented KPMG’s SC2 tax strategy in a

related series of transactions which had taken place earlier in the calendar year 2001.

 

 

l, INSURING AGREEMENT. The provisions of that insuring agreement are

quoted below; the quoted text has associated endnotes Which include the Policy’s

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definition of selected terms used in the insuring agreement; this convention is used

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hereinafter in other quotations of the Policy’s language The insuring agreement

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provides:

The Insurer [American Interr_iational Specialty Lines
Insurance Company] shall_pay, subject to the applicable
Reter_it_ion (as defined_herein) and other terms and
co_n_ditions of this Policy"; the Loss _of the Insureds‘" _
arisin _from a_Claim first made a(gainst any Insured during
the Po ic . Period [August 29, 20 1 to at least November
30, 2006 "’_and reported to the Insurer pursuant to the _
terms of this Policy. The Insurer shall, in accordance with
and subject_to Clause 7 hereof, advance Contest Expenses
of such _Cla_im excess of the Retention prior to its Final
Deterinination.

8. In a portion of the Policy captioned Section 8. PROCEDURE FOR
TIME OF PAYMENT, AISLIC promised that: “Payment of Loss required
hereunder shall be made to the Named Insured [Upper Deck Company] at the

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address set forth in Item l(a) of the Declarations [5909 Sea Otter Place, Carlsbad,
CA 92008-6621].” AISLIC was, therefore, to perform its obligations under the

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Policy in this judicial district.
9. The insured “Loss” defined in the Policy at Section 2. DEFINITIONS

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11 (1)V is comprised of three constituent parts, each of which is also defined in
Section 2. DEFINITIONS 1111 (j), (d) & (f) of the Policy respectively as: (l) ”Insured
Tax Loss”Vi; (2) ”Contest Expenses”V“; and (3) ”Gross-Ups.”"i"

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10. The Policy’s definitions of two of the constituent parts of “Loss,”

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7. The"ljolicy contain`s"aii insuring agreement which is set"fortliiri“Siectionn 7

 

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l “Insured Tax Loss” and “Contest Expenses,” both make reference to an “Insured
2 Tax Event,” the definition of which is set forth in Endorsement No. l of the Policy
3 and relevant portions of which are quoted below:
4 _ ‘Insured Tax E_vent’ means an assertion, at any time
during the Policy Period, by a Taxing Authority that with
5 respect to ‘the tax years 2001 through 2005, (a as _a.result
… of any action taken by the Named nsured or dditional
6 Insureds prior to the Inception Da_te [A_ugust 29, 2_001],Ix
The Upper Deck Company a California corporation
7 (“Upper Deck”) _has more than one class of stock for _
urpose_s of Secti'on_ 13_61 of the Code", . . . (c) deductions
8 or charitable contributions are r_iot allowable to th_e pre-
gift shareholder of Utpper Deck in the year of ift in an
9 amount equal to the air marl_<et value, reduce by an ~
adjustments ursuant to Section 170(e)(1) of the Co e, of
10 such .sl_iareho der’s gift of non-voting stock to the
Municipal Plan,_ (d) the post-gli\§t al_lo_cations of Upper
11 Deck’s taxable income to the unicipal Plan are not
correct or proper; . . :, (e) as a result of the ift of tl_ie_
12 Ulpper Deck non-_voting common stock to t e Municipal
P an by the pre- ift shareholder, any Upper _Deck
13 shareholder or pper Deck, itself, assi r_ied income to the
Municipal Plan . . . . For purposes of t is definition, the
14 term ‘p_re-gift shareholder shall mean the MPR Trust; the
term’ gift’ shall mean the g(ift of 8,280 000 shares of non-
15 votin stock of Upp/ier I_)e_c made by the pre- ift
share older to the unicipal Plan on March _l, 2001 ; and
16 the _total number of shares of Upper Deck voting and non-
voting common stock outstanding)shall n_ot include shares
17 of stock of Uerr Deck that may e acquired pursuant to
the _Warrant greement attached as Exhibit D to this
18 Policy (“Warrant Shares”) unless and until any such
Warrant Shares are purchased and paid for pursuant to
19 such Warrant Agreement. . . . '
20 l 1. On April 9, 2002, the IRS summoned KPMG to reveal the identity of
21 its clients, including the Insureds, utilizing various tax strategies which had been
22 promoted by KPMG, including the tax strategy referred to as “SCZ.” KPMG
23 notified Upper Deck of this on April 9 or 10, 2003, and Upper Deck in turn
24 promptly notified AISLIC no later than April 10, 2003.
25 12. Thereafter, the IRS published a list of those transactions it was going to
26 investigate -- Notice 2004-30 -- and Upper Deck and its voting shareholders
727 subsequently received various Inforrnation Document Requests from the IRS. The
28 IRS (a “Taxing Autrhority”xi as defined in the Policy) published Notice 2004-30 as
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Internal Revenue Bulletin 2004-17 on April 26, 2004 (during the “Policy Period”).
Notice 2004-30 addresses and describes an “S Corporation Tax Shelter” which is the
SC2 tax strategy.

13. Notice 2004-30 is also the subject of a Coordinated Issue Paper (“CIP”)
issued by the IRS on November 8, 2004 (during the “Policy Period”) “discuss[ing]

 

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business and disallowing deductions the taxpayers improperly claim as a result of
participating in Notice 2004-30 transactions.”

14. The Policy’s definition of “Insured Tax Event” provides that an
“‘Insured Tax Event’ includes: an assertion, at any time during the Policy Period,
by a Taxing Authority that with respect to the tax years 2001 through 2005, (a) as a
result of any action taken by the Named Insured or the Additional Insureds prior to
the lnception Date [August 29, 2003], The Upper Deck Company, a California
corporation (‘Upper Deck’) has more than one class of stock for purposes of
Section 1361 of the Codc.”’ (Emphasis added.) Such an assertion was made in
Notice 2004-30 which stated that “the Service may also argue that the existence of
. . . [certain] warrants [issued by Upper Deck on March 29, 2001 ~ before the
Inception Date] result[ed] in a violation of the single class of stock requirements of
§ 1361(b)(l)(D), thus terminating the corporation’s status as an S corporation. See,
e.g., §§ l.l36l-1(l)(4)(ii) and (iii).” (Emphasis added.) The IRS’ assertion in this
regard was published in I.R.B. 2004-17 on April 26, 2004 during the Policy Period,

15. The IRS’ Coordinated Issue Paper, issued November 8, 2004, further
explains the grounds for the IRS’ assertion: “[T]he capital structure created in the
Notice 2004-30 transaction violates the single class of stock requirement of
§ 1361(b)(l)(D) of the Internal Revenue Code and § l.l36l-1(l) of the Income Tax
Regulations. The S corporation election will terminate on the date the second class
of stock is issued and the corporation will be treated as aC corporation Thus, the

income will not be allocated to the shareholders and the income will be taxable to

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p_d

the C corporation.”' (CIP, pp. 1-2, 6.) (Emphasis added.) The Coordinated Issue
Paper states several points iri support of this conclusion:

0 [A] co_ oratio_n is treated.as having only one class of
stock 1 all_ of_its outstanding shares confer identical
rights to distributions and li uidation roc_eeds
§ .1_361-1(1)(1). Section l. 36_1-1(1) 4)(111)(A)_ _
provides, in part, that a call option, warrant or similar '

 

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second class of stoc of the corporation if, taking into
account all _of the facts and circumstances, the
instrument is substantially certain to be exercised by
the holder and has a strike rice substantially below the
fair market value of_ the un erlying stock on the date
that the instrument is issued.

o Thel:varrants in these transactions are a second class of
stoc .

(CIP, p. 7.) (Emphasis added.) `

16. With respect to all of its assertions (others being discussed below),
Notice 2004-30 states the Intemal Revenue “Service and the Treasury Department '
recognize that some taxpayers may have filed tax returns taking the position they
were entitled to the purported tax benefits of the type of transaction described in this
notice. Those taxpayers should take appropriate corrective action and ensure that
their transactions are disclosed properly.” Notice 2004-30 also “alerts taxpayers and
their representatives that these transactions are tax avoidance transactions.”

Notice 2004-30 provides the “Service intends to challenge the purported tax benefits
from this transaction.”

17. Following publication of Notice 2004-30 on April 16, 2004, on
August 5, 2004 (again during the “Policy Period”), correspondence from the
Department of the Treasury, the lnternal Revenue Service (a “Taxing Authority”)
addressed to the UpperDeck Company and its counsel transmitted “three IDR
Forms 4564, numbered S608B2, S608C, S701A” (the “August 2004 IDRs”). One
of the August 2004 IDRS, request S608B2, specified that the “Internal Revenue
Service has identified certain transactions as ‘listed transactions’ for the purposes of

§ 1.601 104(b)(2) of the Income Tax Regulations. The IRS considers transactions

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that are the same as or substantially similar to listed transactions to be tax avoidance
transactions.”

18. Among the “listed transactions” identified in IDR No. S608B2 were
those described in “Notice 2004-30, 2004-17 I.R.B. -- S Corporation Tax Shelter”

which are discussed above. Requcst S608B2 identifies its purpose as “to determine

 

 

whetherThellpperI;eck Company has directly or indirectly participated in

transactions that are the same as or substantially similar to any listed transaction,”
including Notice 2004-30. In correspondence dated August 6, 2004, addressed to
counsel for The Upper Deck Company, stating it pertained to “examination of
Upper Deck Co., Notice 2004-30 transactions,” the Department of the Treasury,
lntemal Revenue Service advised that the IRS “ha[d] begun an examination of the
tax returns indicated above [returns of Upper Deck Co.] with respect to transactions
described in Notice 2004-30[.] . . . See Notice 2004-30 for the government’s
position. The aforementioned examination is proceeding and must still be
concluded.” This August 2004 assertion by the IRS matches the definition of an
“Insured Tax Event” set forth in Endorsement No. 1, 11 (a).

19. The IRS has therefore made multiple assertions that the warrants issued
by Upper Deck Company on March 29, 2001 were a second class of stock and these
assertions are an “Insured Tax Event.”

20. The Policy also provides “‘Insured'Tax Event’ means: an assertion, at
any time during the Policy Period, by a Taxing Authority that with respect to the tax
years 2001 through 2005, . . . (c) deductions for charitable contributions are not
allowed to the pre-gift shareholder of Upper Deck in the year of gift in an amount
equal to the fair market value, reduced by any adjustments pursuant to
Section l70(e)(l) of the Code, of such shareholder’s gift of non-voting stock to the
Municipal Plan.” The IRS made such an assertion in Notice 2004-30 which
describes a transaction in which “the original shareholders donate the non-voting

stock to the exempt party . . . . The original shareholders might also claim a

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charitable contribution deduction under Section 170 for the donation of the non-
voting stock to the exempt party.” Notice 2004-30 further .asserts: “The Service
intends to challenge the purported tax benefits from this transaction . . . .” The IRS’
Coordinated Issue Paper regarding Notice 2004-30 amplifies this assertion stating

“the transfer of nonvoting stock to the exempt party does not qualify as a deductible

 

 

charitable contribution pursuant't’o"§ 170 and should be disallowed.” (CIP, p. 2.)

The IRS explained that “to be a charitable contribution under § 170, a transfer to a
charitable organization must be a gift. . . . ln a Notice 2004-30 transaction, the
nonvoting stock was not transferred to the exempt party with charitable intent.
[Rather], [t]he parties to the transaction entered into the transaction to generate a tax
benefit to the original shareholders, not to benefit the exempt party. . . . [T]he
amount received by the exempt party was an accommodation fee, not a charitable
gift.” (CIP, pp. 8-9.) A “charitable contribution deduction taken on the transfer of
the nonvoting stock to the exempt party should be disallowed.” (CIP, p. 9.) The
Notice 2004-30’s assertion by the IRS that there could be no valid charitable
contribution by Richard McWilliam was another “Insured Tax Event.”l

21. Similarly, the August 2004 lDRs reiterate the IRS Notice 2004-30’s
assertions that deductions for the shareholder gift of Upper Deck stocks to the
Municipal Plan should be disallowed. '

22. Thereafter, in the April 7, 2005 correspondence (“April 7, 2005
Correspondence”), the Department of the Treasury, lntemal Revenue Service (again,
a “Taxing' Authority”) informed all three Insureds that the IRS had “evaluated the
issues present in the transaction described in Notice 2004-30” and “propose[d] to

resolve issues related to the S corporation charitable contribution transactions,

including related penalties” by:

3. The transfer of non-voting stock to the tax

 

' Mr. McWilliam never claimed such a charitable deduction on his 2001 tax return

because due _to other factors associated with his return there would have been no tax
benefit for his doingso.r n y

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deduction will be allowed.
This is another “Insured Tax Event” under Section 2. DEFINITIONS 11 (c) of the
Policy. v

.. , 23. ,~.M,Therl?olicy,’s definitionof,,,‘f,.‘,lnsured "1`,axEvent1,,[also7 provi,des,,that,that,

term] means: an assertion, at any time during the Policy Period, by a Taxing
Authority that with respect to the tax years 2001 through 2005, . . . (d) the post-gift
allocations of Upper Deck’s taxable income to the Municipal Plan are not correct or
proper; . . . .” Notice 2004-30 describes a transaction in which ‘-‘the parties to the

transaction claim that, after the donation of the non-voting stock, the exempt party
owns 90 percent of the stock of the S corporation. . . . F or tax purposes . . . during
that period, 90 percent of the S corporation’s income is allocated to the exempt party
and 10 percent of the S corporation’s income is allocated to the original
shareholders.” Notice 2004-30 asserts such a “transaction . . . is designed to
artificially shift the incidents of taxation on S corporation income away from taxable
shareholders to the exempt party. ln this manner, the original shareholders attempt
to avoid paying income tax on most of the S corporation’s income over a period of
time. The Service intends to challenge the purported tax benefits from this
transaction.” The IRS’ Coordinated Issue Paper reiterates “the transfer of the S
corporation stock to the exempt party will be disregarded for F ederal tax purposes
under judicial doctrines Consequently, the S corporation and original shareholders
entering into transactions that are the same as or substantially similar to those
described in Notice 2004-30 shall be treated as if there had been no transfer to the
exempt party.” (CIP, pp. 1, 3-6.) The IRS’ assertion the “transaction . . . is
designed to artificially shift the incidents of taxation on S corporation income away
from taxable shareholders to the exempt party” is clearly an “Insured Tax Event.”

24. The IRS reiterated these assertions in its August 2004 IDRS and the

 

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August 6 , 2004 correspondence which promptly followed the IDRs. That
correspondence stated it pertained to “examination of Upper Deck Co., Notice 2004-
30 transactions,” the Department of the Treasury, lnternal Revenue Service advised
that the IRS “ha[d] begun an examination of the tax returns indicated above [retums

of Upper Deck Co.] with respect to transactions described in Notice 2004-30[.] . . .

 

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Notice 2004-30`states that thierS'ervicel will challenge transactions in which

S corporation shareholders attempt to transfer the incidents of taxation on

S corporation income by purportedly donating the S corporation non-voting stock to
an exempt organization[.] . . . See Notice 2004-30 for the govemment’s position.
The aforementioned examination is proceeding and must still be concluded.” This
August 2004 assertion by the IRS matches the definition of an “Insured Tax Event”
set forth in Endorsement No. 1, 11 (d) [“post-gift allocations of Upper Deck’s taxable
income to the Municipal Plan are not correct or proper”].

25. In the August 7, 2005 Correspondence (again, during the “Policy
Period”), the Department of the Treasury, lntemal Revenue Service (again, a
“Taxing Authority”) informed all three Insureds that the IRS had “evaluated the
issues present in the transaction described in Notice 2004-30” and “propose[d] to
resolve issues related to the S corporation charitable contribution transactions,

including related penalties” by:

2. The transfer of the S corporate stock to the
exempt party i_s disregarded for federal tax_ urposes.
S corporation income will be allocated as 1 there had been
no transfer of stock to the exempt party.

This is yet another “Insured Tax Event” under Section 2. DEFINITIONS 11 (d) in the
Policy.

26. The Policy’s definition of “‘Insured Tax Event’ [also provides that that
term] means: an assertion, at any time during the Policy Period, by a Taxing

Authority that with respect to the tax years 2001 through 2005, . . . (c) as a result of
the gift of the Upper Deck’s non-voting common stock to the Municipal Plan by the

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pre-gift shareholder, any Upper Deck shareholder of Upper Deck, itself, assigned
income to the Municipal Plan.” Notice 2004-30 describes a “transaction . . . in
which S corporation shareholders attempt to transfer the incidents of taxation on

S corporation income.” Notice 2004-30 “alerts taxpayers and their representatives

that these transactions are tax avoidance transactions” and are “designed to

 

 

artificially shift the inciden*ts'of taxation on S corporation income awayfiorritaxable777 7

shareholders to the exempt party.” Notice 2004-30 states “the Service intends to
challenge the purported tax benefits of this transaction based on the application of
various theories, including judicial doctrines such as substance over forrn.” This
assertion by the IRS (again clarified by`the IRS’ Coordinated Issue Paper (pp. l, 3-
6) was another “Insured Tax Event.”

27. ln the August 7, 2005 Corrcspondence (again, during the “Policy
Period”), the Department of the Treasury, Intemal Revenue Service (again, a
“Taxing Authority”) informed all three Insureds that the IRS had “evaluated the
issues present in the transaction described in Notice 2004-30” and ‘fpropose[d] to
resolve issues related to the S corporation charitable contribution transactions,

including related penalties” by:

2. The transfer of the S corporate stock to the
exempt party i_s disregarded for federal tax_ urposes.
S corporation income will be allocated as i there had been
no transfer of stock to the exempt party.

This is yet another “Insured Tax Event” under Section 2. DEFINITIONS 11 (e) in the
Policy.
28. The Policy provides, in Section 2. DEFINITIONS 11 (A):
‘Claim’ means any written notice_from the Taxing
Authority alle ii%g any lnsur_ed ml_ay be liable for Taxes_,
but only if suc axes are direct y related in whole or in
part to the Insured Tax Event.
(Emphasis added.)

29. The Internal Revenue Service’s April 26, 2004 publication of

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Notice 2004-30 in lnternal Revenue Bulletin 2004-17 in conjunction with the
Internal Revenue Service’s August 5, 2004 correspondence transmitting “three IDR
Forms 4564, numbered S608B2, S608C and S701A” followed the next day by the
Intemal Revenue Service’s August 6, 2004 correspondence regarding “ex'amination

of Upper Deck Co. Notice 2004-30 transactions” and the same “Taxing Authority’s”

 

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April"l, 2005 Correspondeiicew(all during the “Policy Period”) leave no room for
ambiguity about there being “written notice from the Taxing Authority alleging any
Insured gm be liable for taxes.” (Emphasis added.) For reasons alleged above,
there is also no ambiguity that “such Taxes are directly related in whole or in part to
the Insured Tax Event.”

30. Implicit in the Policy is an implied Covenant of Good Faith and Fair
Dealing pursuant to which AISLIC impliedly promised not to unreasonably interfere
with Insureds’ receipt of benefits under the Policy (the “Irnplied Covenant”).

31. The magnitude of the “lnsured Tax Loss”Xii portion of the insured Loss
arising from the Insureds’ implementation of KPMG’s SC2 tax strategy due to the
“Claim” made against the Insureds by the IRS will exceed the $50 million limits of
the Policy by millions of dollars even before any ”Contest “Expenses”"“i“ or
“Gross-Ups”"i" are included in the potential Loss. In the April 7, 2005
Correspondence, the IRS proposed to resolve the IRS’ Claim against the Insureds in
a manner that would still result in an “Insured Tax Loss” well in excess of the $50
million limits of the Policy but nevertheless result in a multi-million dollar savings
in the “Insured Tax Loss"’ might otherwise be if the lnterrial Revenue Service
aggressively pushed and prevailed on the issue that the Upper Deck Company had
more than one class of stock for purposes of Section 1362 of the Code; the proposal
in the April 7, 2005 Correspondence would resolve the amount of the “Insured Tax

Loss” as if Upper Deck Company did not have more than one class of stock.2

 

z_Because of the magnitude of the “Insured Tax Lo_ss"_ resulting from the IRS's
Clai_rn, the Insureds have not alle ed the details of a similar claim asserted by the
Taxing Authorities of the State o California, the Franchise Tax Board, giving rise to

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32. The Insureds communicated the proposals in the IRS’ April 7, 2005
Corrcspondence to AISLIC, communicated the Insureds’ willingness to fund the
millions of dollars over and above the $50 million limit of AISLIC’s Policy’s limits
required to resolve the IRS’ Claim on the terms of the April 7, 2005
Correspondence, and urged that AISLIC contribute its $50 million Policy limits to

 

 

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avoid the potential for additional millions of dollarsin “Insured Tax Lo‘s~s"". The
Insureds also communicated to AISLIC that AISLIC’S $50 million Policy limits
would be needed to consummate the settlement proposed in the IRS’s April 7, 2005
Correspondence.

33. AISLIC communicated its consent to the Insureds’ acceptance of the
proposals in the April 7, 7005 Correspondence, but AISLIC initially declined to
state if and when it would contribute its $50 million Policy limits, or any portion
thereof, to consummate the resolution of the IRS’ Claim in accordance with the
April 7, 2005 Correspondence.

34. By way of letter to Insureds’ counsel from AISLIC’S counsel, Peabody
& Arnold, dated July 29, 2005, AISLIC denied that the Policy had any application
to the Claims asserted against the Insureds by the IRS or the Franchise Tax Board
and arising out of the Insureds’ implementation of KPMG’s SC2 tax strategy and
further denied any responsibility to or obligation to the Insureds for the Losses
arising from those Claims. AISLIC has thereby repudiated its obligations under the
Policy.

352. No Policy exclusions apply to the insured Losses for the Claim asserted
by the iRs.3

36. Notwithstanding the filing of this Counterclaim in this arbitral forum,

Counter-Claimants are in no way waiving their right to object to the arbitrability of

 

an ”lnsured Tax Loss” of millions of dollars; however, the Insureds also allege the
existence of such a loss.

3Nor do any Policy exclusions apply to the insured Losses for the Claim asserted

. by the Franchise Tax Board

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this dispute. »To be sure, as of the filing of this Counterclaim, a federal district court
in the Southern District of California has taken under submission a motion to

compel the instant arbitration brought by AISLIC in response to a complaint filed in
that Court by Counter-Claimants (Case No. 05CV19451EG (RBB)). The allegations

in the federal case are substantially similar to those asserted herein. Counter-

 

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Claimants file this Counterclaim at this time in order to preserve its rights under threw ' v

rules applicable t_o this arbitral forum.
FIRST CLAIM
(Against AISLIC, inclusive, for Breach of Insurance Contract)

37. Insureds reallege paragraphs l through 36 above and incorporate them
in this First Claim as though fully set forth herein,

38. Insureds have performed each of their obligations under the Policy or
such performance has been waived, suspended or excused. Moreover, all conditions
precedent to AISLIC’s performance of their obligations under the Policy have
occurred or have been waived.

39. AISLIC’s repudiation of any obligation to provide any Policy benefits
to the Insureds is a material breach of the Policy which has or will damage Insureds
in and amount not less than the $50,000,000 Limit of Liability provided for in ITEM
4 in the DECLARATIONS for the_ Policy and which may consequentially damage
the Insureds in the amount of millions of dollars by disrupting resolution of the
IRS’s Claim on the terms set forth in the April 7, 2005 Correspondence.

l SECOND CLAIM
(Against AISLIC for Tortious Breach of the Covenant
of Good Faith and F air Dealing)

40. Insureds reallege paragraphs l through 39 above and incorporate them
in this Second Claim as though fully set forth herein.

41. AISLIC’s actions tortiously breached the lmplied Covenant inherent in

the Policy as well as the explicit terms and conditions of the Policy. As a proximate

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and legal result of AISLIC’s, inclusive, breach of the lmplied Covenant inherent in
the Policy, Insureds have suffered damages which include not only deprivation of the
explicit benefits provided for in the Policy but also in the form of costs and attomeys’
fees which Insureds have been forced to incur in order to recover the contractual

benefits under the Policy to which Insureds are entitled. ln addition Insureds `

 

anticipate suffering additional damagesiof millions of dollars as a result of AISLIC’s
refusal to pay Policy benefits to resolve the IRS’s claim consistent with the April 7,

2005 Corrcspondence which Insureds anticipate may disrupt such a resolution.

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42. AISLIC’s, inclusive, actions have been fraudulent and malicious and

Insureds are entitled to recover exemplary damages Defendants’ actions were

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malicious in that defendants intended those actions to cause injury to Insureds and

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those actions were despicable conduct carried on by the defendants with the willful

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and conscious disregard for the rights of Insureds to receive benefits under the

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Policy. Defendants’ actions were fraudulent in that defendants misrepresented to

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Insureds that Insureds were not entitled to benefits under the Policy with the

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intention on the part of the defendants of depriving Insureds of their legal rights

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under the Policy and otherwise causing injury to Insureds.

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43. Furthermore, the officers, directors and managing agents of AISLIC,

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inclusive, acting within the course and scope of their employment, have authorized

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and ratified the wrongful acts and conduct alleged herein, and AISLIC has

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themselves engaged in the wrongful acts and conduct alleged herein which '

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constitute oppression, fraud and malice.

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44. Insureds are entitled to recover punitive and exemplary damages from

AISLIC in amounts sufficient to punish and make an example of AISLIC.

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WHEREFORE, Insureds pray for an award and ultimately judgment in their

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favor and against AISLIC, and each of them, as follows:

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1. In the amount of compensatory damages, special, general and

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consequential, proved at hearing or trial;

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2. In the amount of exemplary damages proved at hearing or trial;

3. If and to the extent provided for by applicable law, for attorneys’ fees
and costs incurred in this action;

4. For prejudgment interest in the maximum amount allowed by law from

the date such damages became due; and

 

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5. For such further relief as the arbitration panel in its discr§ion deems l

just and appropriate

Dated: January 5, 2006 Rury~i/&j
By:

  

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Attorneys for espo, dents and
Counterclaimants, he Upper D_eck
Company and Richard P. McWilliam,

individually and as Trustee for the
MPR Trust

 

lSection 5 RETEN'_l`ION provides: “The_lnsurer shall onl _be liable for the
amount of Loss which is _in excess of the retention amount state_ in ltem_$ of the
Dec_larations (the ‘Retention’) [$500,_000, in the aggregate]. This Retention shall be
carried by the Insureds at their own risk and remain uninsured. A sin le Retention
shall app y to all Loss arising from all Claims relating to the Insured ax Event.”

_ iiSection 2. DEFINITIQNS l(p) “‘Policy’ means this Fiscal Event Insurance
Policy agreed to and underwritten y the Insurer for the benefit of the Insureds.”

_ mSection 2 DEFINIT_IONS 11(i “‘Insureds’ means the _Named Insured listed
in Item l_(a) of the Declarations and t e Additional_ Insureds listed in Item l(l]§ of the
Declarations.” Item l(a) of the Declarations identifies the NAMED INSUR as
“th_e Up _er Deck Com any.” Item 1 b) identifies the ADDITIONAL INSUREDS
as inclu ing “the MP Trust [and] r. Richard McWilliam.”

l`fSection 2 DEFINITIGN_S 11 (p) “‘Policy Period’ means the period of time
shown in ltem3 of the Declarations, as the same may be extended pursuant to the
terms and conditions hereof.” Item 3 of the Declarations identifies the POLIC_Y
PERIO_D as “from Au_gust 29, 2001 to _the later of (i) November 30, 2006 or (ii) the
expiration'of the applicable statute of limitations with respect to the _tax items
described in the I_nsured Ta_x Event relating to the transactions described in the _
KPMGLLl_’ o inions; rovided, however, that in no event shall a policy with Policy
Period expire ater than November 30, 2010.”

"Section_ 2 DEFINITIONS ‘|1-&1) “‘Loss’ means 90% of Insured Tax Loss and,
to the extent directly related to any nsured Tax Loss, 90% of any Contest Expenses
and 90% of any Gross-Ups.”

VlSection 2 DEFINITIONS 11 (j) “‘Insured Tax Loss’ means a_ny Taxes,
lnterest, fines or penalties owed by any Insured to a Taxing Authority directly
related to the Insured_Tax Even_t, sub ect to all of the terms, conditions and_
exclusions of the P_oli_cy.” Section _2 EFINITIONS 11 (s) “‘Taxes’ mean (i) _any
federal or California income taxes imposed by the Code or comparable provisions of

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a}pphcable California law. (ii) any federal _ift taxes imposed by the Code, and (iii)
t e income taxes of any other state as to w_ ich the In_surer has extended coverage as
provided in Endorsement No. 2 of this Policy.” Section 2 DEFINITIONS 11 (h)
/;:Intlere_st’ means interest on an underpayment of Taxes assessed by a Taxing

ut ority.”

""iSection 2 DEFINITIQNS 11 (d) “_‘Contest Expenses’ means the reasonable
and necessary legal, accounting or a praisal_ expenses of outside legal and
accounting advisors and appraisers i.e. advisors and appraisers that are not

employees of the Insured)"conductingl'\that part 7of"a"€ontest whic’rrdire_ctly*relatesto' " " *'

the Insured Ta_x Event, following the amed Insured having given notice under
Cl_ause 6 o_f this Policy.” Section 2_DEF1NI"1_`IONS 11(c) “‘ ontest_’ means a dispute
with a Taxing Authorit over an adjustment in any Insured’s liability for its Taxes as
it relates to an Insured ax Event for which the Insurer may be required to
indemnify the Insured hereunder.”

v“'Section 2_ DEF_INITIONS 11 (t) “‘Gross-U ’ means the amount by which a
payment under this Po_lic must be increased to ta e _into account any federal or state
income taxes which will e imposed on any Insured in respect of such payment and
any Gross-Up payment.”

ixSection 2 DEFIN_ITIONS 11(g) “‘Incetl)tion Date’ means the first date listed
in Item 3 of the Declarations [August 29, 200 ].”

xSection 2. DEFINITIONS: “‘Code’ means the Internal Revenue Code of
1986, as amended and in_effect as of the Inception Date and as the same may be
amended after the lnception Date but only to the extent such amendments have
retroactive effect.”

xlSection 2. DEFINIIIONS 11 (t) provides “‘Taxin Authority’ means (i)_ the
Internal Revenue Service, (ii) the comparable authority o the State of California
and (iii) the comparable authority of any other state as to which the Insurer has
extended coverage as provided in Endorsement No. 2 of this Policy.”

"‘"Section 2 DEFINITIONS 11 (j) “‘Insured Tax Lo_ss’ means any '1_`axes,
Interest, fines or penalties owed by any Insured to a Taxing Authority directly
related to the Insured_Tax Event, sub ect to all of the terms, conditions and_
exclusions of _the P_oli_cy.” Section _2 EFINITIONS 11 (s) “‘Taxes’ mean (i) _any
federal or California income taxes im(posed b the Code or comparable rovision_s_ of
afpphcable California law. (ii) any fe eral }g_i taxes imposed by the Co e, and (iii)

t e income taxes of any other state as to w_ ich the In_surer has extended coverage as
provided in Endorsement No. 2 of this Policy.” Section 2 DEFINITIONS_11(h)
[;:Intlerest’ means interest on an underpayment of Taxes assessed by a Taxing

ut ority.”

’““Section 2 DEFINITI_ONS 11 (d) ‘f‘Contest Expenses’ means the reasonable
and necessary legal, accounting or a praisal_ expenses of outside legal and
accounting advisors and appraisers (i).e. advisors and appraisers that are not
employees of the lnsured) con_ductin that part of a Contest which directly relates to
the Insured Tax Event, followmg the amed Insured havin given notice under
Cl_ause 6 of this Policy.” Section 2_DEFIN11_"IONS 11(c) “‘ ontest_’ means a dispute
with a Taxing Authorit over an adjustment in any Insured’s liability for its Taxes as
it relates to an Insured ax Event for which the Insurer may be required to
indemnify the Insured hereunder.”

xlvSection 2_ DEF_INITIONS 11(f) “‘Gross-Ut()’ means the amount b which a
payment under this Po_lic rnust be increased to ta e mto account any fe eral or state
income taxes which will e imposed on any Insured in respect of such payment and
any Gross-Up payment.”

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PROOF OF SERVICE BY MAIL v

STATE OF CALIFORNIA, COUNTY OF ORANGE

I am employed by the law office of Rutan & Tucker, LLP in the County of Orange, State of
Califomia. 1 am over the age of 18 and not a party to the within action. My business address is
611 Anton Boulevard, Fourteenth Floor, Costa Mesa, California 92626-1931.

 

 

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On January 6, 2006,'"1 served on the interested parties in said action the within" 7

THE UPPER DECK COMPANY’S, MPR TRUST’S, AND RICHARD P.
MCWILLIAM’S, INDIVIDUALLY AND AS TRUSTEE FOR THE MPR TRUST,
COUNTERCLAIM AGAINST AMERICAN INTERNATIONAL SPECIALTY LINES `
INSURANCE COMPANY

by placing a true copy thereof in sealed envelope(s) addressed as stated below:

Robert E. Cushner, Esq.
Peter A. Stroili, Esq.
Dimato & Lynch

70 Pine Street

New York, NY 10270-01 10

In the course of my employment with Rutan & Tucker, LLP, I have, through first-hand
personal observation, become readily familiar with Rutan & Tucker, LLP’s practice of collection
and processing correspondence for mailing with the United States Postal Service. Under that
practice I deposited such envelope(s) in an out-box for collection by other personnel of Rutan &
Tucker, LLP, and for ultimate posting and placement with the U.S. Postal Service on that same day
in the ordinary course of business. If the customary business practices of Rutan & Tucker, LLP
with regard to collection and processing of correspondence and mailing were followed, and I am
confident that they were, such envelope(s) were posted and placed in the United States mail at
Costa Mesa, California, that same date. I am aware that on motion of party served, service is
presumed invalid if postal cancellation date or postage meter date is more than one day after date
of deposit for mailing iii affidavit

Executed on January 6, 2006, at Costa Mesa, Califomia.

I declare under penalty of perjury under the laws of the State of California that the
foregoing is true and_correct.

Michelle Mann N/j/M W@/)/\.

(Type or print name) (Signature)/

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